NNUAL

eo

BP

4.16 AP

«  00841-0972-25
fa ebaees 00841-2273-47

(VIAL, DOSETTE)
10 mg/ml, 1 mi 25s... .00641-0967-25

(M.0.M)
10 mg/ml, 10 ml ..... O0641-2277-41

«+ 91592-0025-01
51552-0025-05
- + SUGS2-002-10
$1382-0025-25

ix) See SOLUREX
ere) Sea DEXASONE

jot)
OP. O.1%,5ml...... nage4-3908-05

tre eenee 49072-0767-05

.  SOT7E-0071-03
TI 1
saeeateses MTID-0071-4

k} Sea DECADRON

th} Sea DECADRON OGUMETER
élan Chemical)

62091-1041-01
-. 82091-1041-02

11 ggaa1-1041-03
62001-1041-04

) See DECAJECT
) See OCU-DEX
) Sea DEXASOL

 00574-0408-05
.  00574-0408-10

Re Pac)
OF 6.1%, 5ml......
Total Cara)

§2060-1352-13

$4868-0871-00
--  $4868-0871-06

OP, 0.1%, 5 ml 64863-31279-00

medics) Sea PRIMETHASONE

teat)
A, OP 01%, 5 ml ....., 00803-7105-37

H

)
2 mg/ml, 1 mi 25s....00686-4901-25
OF, 0.05%, 3.750 gm , 00686-0640-55
veeees 00886-0720-02

)
f. OP, 0.05%, 3.500 gm , 68016-6022-03
OP.O.1%,5mt....., 56016-6024-05

saeereeeeeaes 603466-0717-10
tebe vecneeeee BO34E-O711-26

SOL (Ocuzof)

thagone sodium phosphate

OP, 0.1%, Sml...... 54790-0525-05
GONE (Legere)

thasone sodium phosphate
(VIAL

mami, 5 ral... .. ++ 25392-0010-05

A

T176

1.38
58.21
15.38

18.72
53.16
95.76
210.00

16.25

59.96
103.95

W728

3.15
21.59
17.77

14.69

23,00
3.20
4.25

6.34
15.56

372
24.89

3.98
8.06

14.99

69.95

16,87

‘$.95

ae) 2b

9.41 AP
1.10 AP
46.57 AP
12.30 AP

aT

aT

10,95 AT

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DEXASONE L.A. (Legera}

dexamethasone ucetale
(NJ, WS (VIAL)
8 mg/ml, 5ml........ 25332-0017-05 © 29,95
DEXASPORIN (UAL)
dexameth/oag sull/palymyx
5US, OP, 1 no: 3.6 mg-10,000 u/ml,
BM ceeeee eee O0877-0900-20 = 7.70
(Phys vate Cara)
SUS, * . ma “3,6 mg-10,000 wml,
shad eee teen ees §4860-1070-01 = 5.63

DEXBROMPHEN/TSEUDOEPH SULF
(Breckenridge) See PHAAMADRINE

(Geneva) See DISGBAOM
(lomed Labs} See DAIXOMED
(Major) Sea DEXAPHEN SA
(GQualitest) See DREXOPHED SA

DEXCHLORPHEN/GG/PSEUDOEPH SULF
(Schering) See POLARAMINE EXPECTORANT

DEXCHLORPHENIRAMINE MALEATE (amide)

TER, PO, 4mg, 100s ea... 52152-0014-02
Ging, 100s ¢a,......,52152-0095-02 &.
(Brackenridge)
TER, PO, 4g, 1005 ea... 59991-0470-01 29.50
6 mg, 100s aa........ S1991-0475-01 = 40.95
(Morton Grava}
SYR, PO (GRANGE)
2 nas mil 480 mi....G0432-0839-16 | 42.36
340 ml oo. 60432-0539-28 271.10
cauainesh
TER, PO, 4 mg, 100s aa... 00809-3198-21 34,50
G mg, 100s 6a........ 00603-3180-21 44.25
(Schaln)
TER, PO, 4 mg, 1005 oa... 00364-0585-01 37.50
6 mg, 100s #a........ O0384-0586-01 9 52.25
(Schering) See POLARAMINE
(Schering) Sea POLARAMINE REPETABS
«UAL) .
TER, PO, 6 mg, 100s ea... 00677-0669-01 57.10
(Zenith Goldline}
TER, PO, 6 mg, 100s 0a...00182-1015-01 63.90
DEXEDRINE (SK Baecham Pharm)
Caxtroamphelamine tulfais
TAA, PO, 5 mg,
100s aa, C-Il.....,, 00007-3519-20 26.00
(Phys Total Cara)
AB, PO, 5 mg,
503 ea, Old... ..... $4008-3403-00 15.56
100s ea, G-ll.. 22... 54860-3403-01 28.78

DEXEDRINE SPANSULES (SK Beacham Pharm)
dextrozmphetamine sulfate

GER, PO, 5 mg
100s ‘a, Cll... QO007-3512-20 62.15
10 mg,
108 aa, Cit... G0007-3613-20 9 77.45
15 m
1008 aa, C-t....... OOG8T-3514-20 99.05
(Phys Total Care)
GEA, PO, 5 mg,
50s oa, C-ll. 2... 54868-3402-00 = 31.04
100s 4a, C-ll....... Sab68-3402-01 59.74
10 mp,
50s ea, C-I0........ SARGO-3O11-00 = 39.10
DEXFERZRUM (Amer Regent)
iron dextran
INJ, WW (S.0..)
ain Tomi 10s... Q0517-0134-10 189,53
debe b ener ee QO517-0264-10 4377.05
DEXONE tat (Keene)
dexamethasone acetate
HA, WW (VIAL)
amgml, §mf........ 90598-5344-76 = 12.50
GEXPANTHENOL {Amer Aagent)
Nd, 1d (5.0.4)
250 mg/mi,
2mlI8s........... G0517-0131-25 101.56
(Consolidaied Midland)
EN, WI (VIAL)
250 mg/ml, 70 ml ....00223-8235-10 © 5,00
TNJ, VIAL
250 mg/ml, 10 mi ....00223-7414-10 6,00

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277/DEXTR

temas

RED BOOK ™

for Windows®

Ay otto rTM Oi ai =) g
ie} mend #10) 6)

celels) Br epee le) y-4

(McGuil)
INJ, 1 (M.D.¥.)
250 mg/ml, 30 mi ....49072-0161-30 7.09
(Marit) See 0-PAN
(Promatie Pharma}
INd, 1d (S.0.V)
250 mg/ml, 2 mi ..... 62174-0502-21 8.24
TOMI eecreccaee 42174-0802-51 10.88
DL-PANTHENOL (Amand}
dexpanthenol
POW, (U.S.P)
100 QM... 17317-0860-03 17.85
1000 gm. - 17317-0880-06 = 61.60
5000 gm... . T7317-0880-05 245.00
DEXRAZOXANE
(Pharacta/Uplaha} See ZINECARD
DEXTRAN (Abbott Hosp)
Id, Wd (VIAL, TEARTOP, HM)
32%, 100 mlds...... 00074-8085-01 222.83 187.65

DEXTRAN 1
{Madigan Pharm) See PROMIT

DEXTRAN 40/DEXTROSE
(Abbott Hosp) See LMO W/5% DEXTROSE

(B. Braun/MeGaw)}
iNd, WW (SLASS CONTAINER}
10%-5%, 500 mi..... O0264-1962-10 | 145.94

(@axter) Sea GENTRAN 40 W/DEXTAOSE
(Medizan Pharm) See AHEOMACRODEX .

DEXTRAN 40/S0D CL
(Aubott Hosp) See LMD W#0.9% SODIUM CHLORIDE

(8, Braun/McGaw)
HW, J, 10%-0.9%, 500 mi 00264-1983-40 146.65

(Baxter) See GONTAAN 40 W/SODIUM CHLORIDE
(Medisan Pharm) Sea AHEQMACAOCEX

DEXTRAN TO/DEXTROSE (Aibott Hoxp)
IMJ, LJ, 6%-5%, S00 mi 12s00074-1987-03 1302.599096.92
(Medisan Pharm) See AYSKON

DEXTRAN 70/S0D CL (8. Braun/McGaw)
(NJ, LJ (GLASS CONTAINER)
6% -0.9%. 500 mi... .00264-1960-19 = 54,58

(Baxter) See GEATRAN 70 W/SODIUM CHLORIDE
(Medisan Pharm) See MACAODEX

DEXTRAN 75/SO0D CL (Abbott Hosp)
IN, 1d, 6% -0.9%,
500 mi t2s ........ 80074-1505-02 1302.591096.92

PURDUE FREDERICK

alle) 4 Orme ED eli When the Ry May Constipate:

ANNUAL.

le

38.94
77,20
128.68
98.94
77.20
128.68

74,23

RX PRODUCT LISTINGS

acy Aha e
SO0seauD......., 61392-0728-51
20005 aa UD...,,.. 61992-0728-54
100005 aa UD... 61302-0728-91

75 mg, 30s aa UD ..,.61992-0729-30

(BLISTER PACK)

75 mg, d0s @a......., 61392-0729-39
dis ea ud ......,..81392-0729-31
32s ea UO .........84992-0729-39
45s ea UD .........81392-0729-45
60s ea UD .........64992-e729-60
S0saaUD.... 41392-0729-90
500s aa UD... 61302-0729-5t
2000s aa UD .......81292-0729-54
10000s ea UD...... 81992-0720-91

100 mg, 30s ea UD ...61392-0730-3¢

{BLISTER PACK)

100 mg, 30s ea... 61392-9730-39
ts ea UD .........81392-0730-91
32s ea UD .. -- 69382-0730-32
45s ea UD .. - 61392-0730-45
60s ea UD ,. - 693992-0730-60
$08 aa UD .,  61392-0739-90
500s aa UD ........61392-0730-51
100005 ea UB....,. 61392-0730-91

(Major}
CAP, PO. 10 mg, 100s 2a. .00904-1260-60

(10X10)

EE 10 mg, 100s ea UD... 009@4-1260-61

EE 25 mg, 1008 ea ....., 08804-1261-50
EE (10X10)

EE 25 mg, 100s ea UD... 00904-1281-61

ft€ 1000s oz ..., -O0004-1261-40

50 mg, 100s ea... --, 00904-1262-60
Ap (10X10)

AB 50 mg, 100s ea UD -- -00904-1282-61

Be, O0904-1262-50

Ag 75 mg, 100s ea... 00904-1263-60
aa (10X10)

75 mg, 100s ea UD... 90904-1763-61

AR 100 mg, 100s ea ..,.. 00604-1264-00
1B (10X19)

a 100 mg. 100s ea UD. . 00904-1264-61

(Martec)

sCAP, PO, 10mg, 100s 4a. - 52855-0447-01

25 mg, 100s ea. 2... 52565-0440-01

50 mg, 100s aa... -- 52855-0440-01

75 mg. 100s 4a... §255$-0331-01

100 mg, 100s ea ...,. §2555-0332-01

150 mg, t00s ea... 52556-0922-91

38779-0218-03

-- 0779-0218-04

a 38779-0218-05

EE
&
EE
AB
AB
aa
a
AS
aa orton Grave’
Aa i, PO (PEPPERMINT}
7 : 10 mg/m, 120 mt... .80432-0851-04
aa: [Mylan
Al 00378-1049-01
Ml + 00378-1049-10
. 00978-3125-01
; 80378-3125-10
us - + 00978-4250-01
WO0s ea... 00378-4250-10
aa 75 mg, 1008 ¢a ...... 00378-§375-01
aa 10008 ea. ........00378-5975-10
aa 100 mg, 100s ea... 08378-§410-91
a 1000s @a......... 00378-6410-19
Ak O-RX Pharm)
= . PO, 50 mg, 308 a... 55289-8018.30
AE 75 mg. 30s ¢a........ §5289-0256-39
al ir}
i . PO, 10 mg, 100s ea. 49994-0217-01
1000s ea ..........40886-0217-10
© 25 mp, 100s ea. . 49884-0218-01
. 40884-0218-10
» 49064-0219-01
--40884-0219-10

+ 49804-0220-01
49484-0220-10
+ 40884-0221-01

1000s ea. 49884-0221-10
150 mg, 50s ea... 49884-0222-03
100s 2.020000. 49686-0222-01
5008 ea... 49884-0222-05
vU.S.P.6.) See SINEQUAN
rma Pac}
PO, 10 mg, 105 2a ...52050-0641-10
Ba... .62059-06541-29

air -Faled

=r (0),. CO} me

+. 52850-0537-30 |

i

217.00
868.00
4340.00
20.88

20.88
21.58
22,27
41,32
4176
62.64
342.00
1392.00
6960.00
23.01

23.31
24.09
24.86
34.97
46.62
69.93
388.50
7770.00

25.35

28,19
32.85

36.50
89.50
18.25

51,45
136.50
29,00

85.29
39.50

92.99

31,58
41.60
55.20
91.58
99.80
180.85

13.50
48,38
137.25

18.25

31.50
308.00
41.60
418.00
59.20
595.85
$1.50
896.00
99.90
976.00

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297 /DOXYC

RCs When the Ry May Con

rite] Cea rl el eg hee 1] ae eee aba Cee] es
B08 @@.. 52959-0541-30 13.81 te 7

(Phys Total Car) REDBOOK

CAP, PO, 10 mg, 305 ea ...54868-2317-03 3.72 FE
BOS 8... $4068-2917-02 8.11 EE for WMindawua®
100s ea... --S4Q58-2317-404 9.29 EE

25 mg, 15s e2.......,56858-0062-08 3.36 EE A
308 aa... -54968-0002-02 3.37 FE Tar) Keli ye
1005 ea... S4858-0062-00 8.14 EE iol ares é] ey 8)

50 mg, 30s a. B4866-1964-02 5.35 EE 7
100s «a... 54888-1964-03 14.71 EE Cie er Ir
10008 ba .......... 54868-1964-00 91.65 EE DOXIL {Alza)

75 mg. 100sea.. 54888-2552-00 19.24 EE

100 mg, 30s ea ......64888-2284-08 7.65 EE SEE SECTION rant ide Mposame
100s ea . 54968-2284-02 22.38 EE

INA, ld §S.0.¥, STEALTH LIPOSOME}
125s ea S4668-2284-04 27,64 FE 2 moval, 10 mi......, T7314-8800-01 656.25
(Quatitast} MINE (Merit
CAP, PO, 10 mg, 1008 na ,.00603-3455-21 31.50 An vox A md
10008 ea... 00603-3455-32 259.89 AB | INU, Wd, 100 mag/ml,

25 mg, 100s ea -00803-3456-21 4159 AB OM. ee 30727-0307-BG = 12.75 EE
mg 1008 3a ean asta “3521 A | DOXORUBICIN HCL VHA + (Bator)
1000sea........ 00509-3457-32 496.75 AB Mw eae etaride

75 mm, 100s ea... 0603 ee wy «OS 2 mofmi, § ml 10s,...55390-8245-10 473.50 ap

wiettatees 10 mi 10s. . 66390-0248-10 947.00 AP

100 mg, 100s ee... ,. O0603-3450-21 99.76 Ag 25 mi S5390-0247-01 236-74 AP

(50 mg, 1003 eq ..... 00603-3460-21 130.80 ag (ayy '

(Quality Cara) 2 mg/ml, 100 mil ...., 55390-0245-01 945.98 AP
CAP, PO, 10 mg, 30s ea ...80946-0799-30 9.71 EE | POI, 1 {S.0.V.PR)

25 mg, 10s ¢a,....... 60348-0553-18 4.47 EE TO mg. 105 43,....... 55390-0241-19 450.70 ww
128 ea... -» QOMB-0552-12 5.26 EE 20 mg, 105 ea........55390-0242-19 901.60 Ap
30s ea... -.80945-0583-30 13.12 FE 50 mg, ea 55300-0243-01 295,40 ap
90s ea... - GO346-0553-90 39.95 EE XORUBICIN KYDROCHLO: DE (AP

§0 mg, 30s 60345-0269-3@ © 18.45 FE ma Wsoweey ROCHLORUDE i

(Raway)} 2 mg/ml, 5 mi 45.50 AF
CAP. PO, 10 mg, 1005 8a ..09686-0436-20 19,00 as Oml......., 91.00 AP

25 mg, 100s #2 ....., 00886-0437-20 12.00 AB 25 Ml... eee. 231.00 ap

50mg, 100s ea... O0686-0434-20 19.50 Ag (M.0.V..PF)

100 mg, 100s ea... 90886-0651-20 21.00 AB 2 mg/ml, 100 mt... 63323-0101-67 998,00 aP

CNT, PO, 10 mg/ml, 120 mi 00688-0612-14 13.00 EE | (Abbott Hosp)
(Schein) IJ. 1d (S.D.V, POLYMER)
GAP PO, 10 mg, 100s ea. BO364-2113-01 37.52 Aa 2 ANT, 5 ml 10s... O0703-6063-83 165.25 140.00 AF
25mg, 1008 ta. 00364-2114-01 41 6 a3 25m, 00703-5646-01 83.13 70.00 AP
10005 ea... 00384-2114-02 416.00 Ag MON, ron eR) 0734 A

50 mg. 1008 ea ......QUS84-2198-01 $5.21 AB 2 mg/m, 100 mi .....00703-5040-01 392.50 280.00 AP
1000s ea .........,00364-2115-02 595.89 AB | (Asire Zeneen LP)

75mg, 100s ea... 00364-2116-01 91.55 AB] IMJ. W (VIAL, PF}

100mg, 1005 ea.....90364-2117-01 99.42 AG 2 mg/ml, 10-mi Ss.,..00186-1592-41 125,00 ap
100s eaUD...,.... O0386-2117-40 54,50 Aa (Bedford)

150 mg, t00sea .....90364-2525-01 231.71 AG} iW. Wi (S.0.v,eR)

(Sky Pharm} 2 mo/mi, 5 ml 1s... .56390-0235-19 473.50 ap
CAP. PO (BLISTER PACK} 10 mi 10s.......... S§390-p238-19 947.00 AP

25 mg, 750s ea UD ...69739-0093-01 223.59 AB 25 mb, S5390-0237-01 236.74 AP

(BLISTER PACK,25%31} (M.0.V.)

25 mg, 7755 ea... 83739-0993-02 231.03 Ad 2 mgvimi, 100 ml ...,.66300-0238-01 945.98 ap

(BLISTER PACK) ra tolmg. tore 88396-0291-10 450.70 ap

50 mg, 750s ea UD...63799-0064-91 322-95 AB a. - :
(BLISTER PACK 25x34 } 20 mg, 108 0a........§6990-0232-18 991.60 ap
80 mg, 7758 ea UD... 83739-0004-02 343.72 a 50mg, ea... $5390-0299-01 225.49 AP
(Teva) (Sedlord) See DOXORUBICIN HCL VHA +
CNT. PO (BLUEBERRY MINT) (aristol-Myer One/tmm) See AUBEX
#0 mofmt, 120 mi ..,.28245-0612-14 23.70 M | (Pharmacia/Upjohn) See ADRIAMYCIN PFS
Ce (1010) {Pharmacla/Upjobn} See ADRIAMYCIN ADF
"10 mg, 100s ea UD... S1079-0436-20 24.40 18.30 AB | DOXORUBICIN HYDROCHLORIDE LIPOSOME
(ROBOT READY 25x1) (Alza) See DOXIL
25 mg, 25sea....., 51878-0437-19 10.68 8.20 Ag | DOXY 100 (APP)
(10X10) doxycycline hyclate
25 mp, 100s ea UD...$1079-0437-28 30.66 23.00 ag POI WJ (VIALPR)
(ROBOT AEADY 25X1} 100 mg, ea... 63323-0130-10 18.89 ap
‘0 m4 25s a, 51079-0438-19 63.65 3.29 ag DOXYCYCLINE CALCIUM
50 mg, 1005 ea UD... St079-0438-20 4274 32.06 ag | (Pllzer U.B.P.G.) See VIBRAMYCIN CALCIUM
75 mg, 1008 es UD...51078-0845-20 86.43 51.39 AR | DOXYCYCLINE HYCLATE
100 me, 1008 ea UD. .81979-9851-20 76.64 57.48 AB
(UAL CAP. PQ, 100 my. 50s aa... 4.26
CAP, PO, 25 mg. 100s ea. 00677-1102-01 41.60 ag { TAB. PO. 100 mg, 50s ea... 4-46
100 mg. 100s ea... 90877-1105-01 99.81 ap | {APP) See DoxY 190
(Watson) (Allscripts)
CAP, PO. 10 mp, 1005 ea. .52544-0505-01 31.52 Ag | CAP. PO. 50mg, 205 ea... sauee-ni47-02 6.63 EE
1000s en $2844-0695-10 308.00 ia SOs @a............ 64560-D147-01 16.58 EE
25 mp. 1005 ea ......S2544-0686-01 41.67 Ad oe {8 FE ---- BASOS-TBAB- OH 2-10 EE
FO00s ea... S254-0696-10 416-00 AB BBR. * BSR-1M0-01 10.50 EE
"roan, 40s ea............ 54569-18400 2099 EE
Oe oF + SRSMEOERT-BT 55.21 3 | TAB. PO, 100 mg. éseasaseanrens oS EE
10006 ¢a S2544-0607-10 595.85 AB hee 7m f
DOXERCALCIFEROL 8s ea 4.94 EE
(Bone Care Int'l} See HECTOROL TOs ea 11.48 EE
PURDUE FREDERICK

Stipate:

FLUOR/322

ascend

FLUORETS (Akorn)
fluorascein sodium
TES, OF (STRIP)

1mg, 100s @a........

dishloro/telchloramono
SPA, TP (FINE)

Aliscripts)
SPA, TP (FINE)
FLUORIDE (Qualitest)

sodium fluaride
CTB, PO, 0.5 mg,

LIQ, PQ (DROPS)
0.425 mg/drp,

(¥intage)
Lid, PO (OAOPS)
0.125 mg/d,

FLUGRINSE (Oral $ Lab
sodiam fluarids
SOL, PO (CINNAMON)

CTB, £0 (D.F,. CHERRY}
(0.8 PINEAPPLE}
(Df, STRAWBERRY}
{D.F., CHERRY)

0.25 mg, 1000s ea...
(D.F.. PINEAPPLE)
(.F., STRAWBERRY)
(D.F..CHERRY)

(0.F. PINEAPPLE)
(DF, STRAWBERRY)
(D.F.,CHERRY}

(D.F PINEAPPLE}
(0.6. STRAWBERRY)
{0.F CHEARY)
(0.F., PINEAPPLE}
{0.F, STRAWBEARY)

(0.F.,CHEARY)

(O.F, STRAWBERRY)
{0.F, CHERRY)
(D.F,STRAWGERRY)

(D.F., CHERRY)

(D.F. PINEAPPLE)

(OD. FR. STRAWBERRY)
Lid, PO (DROPS,0.F}

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pees

TT4TE-9400-01

FLUORI-METHANE (Gebauer)

15%-B5%, 105 ml... .00386-0003-04

15%-85%, 103 ml... .S4589-3567-00

W00s ea ........-. 00503-3622-32
img, 1000s 6a ...... 00603-3623-32

SO ml.-..,.--.....- 00603-1244-47

)

0.2%, 480 mi ........ 0041-0351-07
(MINT)
0.2%, 480 mi ........ 00041-9350-07
FLUORITAB (Fluoritab}
sodium fluoride

0,25 mg, 100s aa.....00288-5510-01
0.25 mg, 100s ea... .00288-5911-09

0.25 mg, 100s ¢a..... 002868-5599-01

60288-5510-10

0.25 mg. 1000s aa... .00280-5511-10
0.25 mg, 1000s ea... .00288-5509-10
0.25 mg, 5000s ea....00288-6510-02
0.25 mg, S000s ea... .08285-5511-02
0.25 mg, 5000s ea....00280-5609-02
O.5 mg, 100s 9a...... 00268-1106-01
0.5 mg, 100s¢a...... 00288-1107-01
0.5 mg, 1005 ea...... 00288-1108-01
0.5 mg, 1000s aa... ..0288-1108-10
0.5 mg, 1000s ga..... 60268-1107-10
0.6 mg, 1000s aa..... 00288-1108-10
0.5 mg, 5000s aa.....00288-1106-02
0.5 mg, 5000s ea.....08283-1407-02
0.5 mg, 5000s aa,.... G0288-1102-02
Tmg, 100s 8a........ 00288-2203-01
1mg, 100s ea...,,...00288-2201-01
dmg, 100s ¢a........ 09288-2204-91
Ting, 10005 64 ...... 60285-2203-10
Img, 1000s ea ...... 60268-2204-10
Tmg. 1000s 6a ...... 60288-22701-10
img, 5000s ea ...... 0288-2203-02
tmg, 5000s aa...... 00288-2201-02
1 mg. SO00s aa...... 00268-2204-02
0.25 mo/drp, 23 mt... $0288-5523-23

is

13.50

19.20

22,00

13.11
13.11

5.10

5.10

7.49
7.49

12.66
12.66
12.88
36.00
36.00
36.00

2.16

eh

mia were peice ee ASSIA OCS

Roe Catt) reenter

cae nla

FLUGRO/GEY GEL (Topix)

glycolic acid

GEL, TP (OFFICE USE ONLY)
30%, 120 gm ........51926-0026-04
50%, 120 gm .......,$4928-0027-04
70%, 120 gm........ §1328-0029-04

FLUGRO/GLY PADS (Topix)

glycolic actd

PAD, TP (OFFICE USE ONLY}
30%, 308 oa -........ 51328-0095-30
50%, 305 oa .........51326-0008-30
70%, 908 #8... ks 51326-0010-30

FLUGROMETH/SULFACET SOD

{Allergan inc) See FML-S LIQUIFILM

FLUOROMETHOLONE

SOL, OF, 0.1%) 10 Mas pcceeesetestineeneene
45 mi

SUS, OP, 0.1%, 5 tl... escssesensecrersenences

(Allergan Inc) See FML FOATE LIQUIFILM

tAllergan Ing) Sea FL LiGUIFILM
(Allergen Inc} See FMi $.0.P.

(Bausch&Lomb Pharm)

SUS, OP, 0.1%, 5 al... 24208-0288-05
WM... 24200-0288-1E
VSB reece 24208-0288-15

(Cloa Ophth) See FLUCA-OP

(Falcon Ophthalmics}

SUS, OP. 0.1%, 5 ml...... 6131 4-0328-05

. B19 4-0320-10

15 mi - 61994-0928-15
{Pacific Pharma)
SUS, OF, 0.1%, 5 mi......60756-0880-05
10 ml....... . - S0758-0550-40
AE Mb. ee 80758-0880-15
(Pharma Pac)
SUS, OP, 0.1%, 5 ml......52959-1433-05
{Phys Total Cara}
SUS, OF 0.1%, 5 mi...... §4868-4012-00
FLUOROMETHOLGNE ACETATE
(Alcon Ophihalmle) Sea FLAREX
(Ciba Ophkth) See EFLONE

FLUOROPLEX (Allergan Inc)
fluorauracll
CRE, TP, t%, 30 gm....... 00023-0612-30

SOL, TP, 1%, 30 mi....... C0Z3-0010-36
FLUGROURACIL (APP)
fa, 14 (5.0.4)
50 mg/ml, 10 ml..... 63323-0117-10
20 mb... ee 63923-0117-20
(BULK PACKAGE)
50 mgm, SO ml..... 63320-0¢17-51
100 Mm... c eee 63323-0117-61

(Allorgan ine) See FLUOROPLEX
(ICM) See EFUDEX
{IGa)
INd, id (VIAL)

50 mg/ml,

10 mi 10s.......... DOGG4-1977-04

(Madisca}
POW, (0.5.P., 5-FU}

VO gm... eee 38779-0025-01

(Pharmacla/ipjohn) See ADRUCH.

(Solopak Labs)
IRd, Wd (8.0.4)
50 mg/ml,
Wml IOs... 6. 39769-G0t2-10
(BULK VIAL)
50 mo/mt,

FLUOTHAHE (Wyeth-Ayarat)

halothane

LQ, 1H, 99.9%, 125 ml... 00048-3125-04
250

TU occ seeee eee QO048-3125-82
FLUOXETINE HYDROCHLORIDE
(Dista) See PAOZAC

100 mi 103 ........ 39769-0012-90

PAY) ese
15,00
25.00
35.00
30.00
50.00
70.00
19.88
24.75
12.53
15.80 AS
26.16 Aa
35.18 Aa
14.25 Ag
21.87 AB
30.56 AB
710.05 AB
16.01 AB
22.39 AB
16.25 EE
14.74 cE
55.25
55.25
2.87 AP
S74 AP
14.95 aP
28.70 AP
15.61 AP
31.50
37.50 AP

250,00 ar

43.55 34.84 AN
84.29 G7.43 AN

ate mia ile

(Lltly) Sea PROZAC

(Major)

2000 RED BOOK ANNUA

EG

TAS, PQ, 10 mg,
100s ea, C-tH...... 00604-1218-60 |= 133.50
(Pharmacia/Upjohn} See HALOTESTIN
(Qualiiest)
TAB, PO, 10 mg,
100s 64, C-1ll ...... 00603-3846-21 201.60
(Rlesemont)
TAB, PO, 10 mg,
100s ea, Cit ....., 00832-0086-00 171.36
(URL)
TAB, PO, 19 mg.
1006 ea, Gell... OO6T7-9934-01 189.40
FLUPHENAZINE DECANOATE (APP)
INJ, 1d (M.0.¥.)

25 mg/ml, § mi... 63923-0272-05 = 74.18
{Apethacon) See PROLIXIN DECANGATE
{Badtord)

IN, td (VIAL)

25 mg/ml, 5mt....... §5990-0465-05 72.00
{Gensls)

INJ, Ld (64.0.4)

25 mg/ml, 5 mi....... 00703-5009-01 = 52.56
(Radford Tharapeutics)

IMJ, 1d (M.0.V}

25 mg/ml, 5 mi...... ,63282-1128-05 80.00
(Superlar)

IND, Ld VIAL)

25 mg/ml, §mi....... 00044-0644-56 =| 80.25
FLUPHENAZINE ENANTHATE

(Apothecon) Sea PROLIXIN ENANTHATE
FLUPHENAZINE HYSROCHLORIDE

TAB, PO, 1 mg, 1005 4a.
2.5 mg, 1005 ea
§ mg, 100s ga.

10 mg, 100s ¢a....

(APP}

INJ, Wd (M.0.M)

2.5 mgfml, 10 ml..... 63323-0281-10 «61.46

{Amarican Health)

TAB, PO, 1 mg, 100s ea UD O2684-0898-01 | 62.94
2.5 mg. 1008 ¢a UD ,.62584-060%-01 88.37
Sig, 100s ea UD ....62584-0703-01 133.05
10 mg, 1005 ea UD ...62588-0704-61 169.36

(Apothacan) See PROLIXIN

(Dixon-Shane)

TAB, PO, 1 mg, 1005 aa... F7296-0480-09 9 52.23

5008 9a............ T72364Ma0-05 | 245,48
2.5 mg. 1003 ¢a......17238-4400-01 = 79.50
5005 @a.......  TTZ3-0400-05 | 357.75
§ mg, 100s aa. . T7296-0401-01 92.50
500s qa.,.....-.... 17236-0401-05 425.50
10mg, 100s aa....., 17296-0492-01 119.00
500s @a............ 17238-6492-05 547,40
(Ganeva}
TAB, PO, 1 mg, 50s ea ....0078$-1435-50 26.10
100s oa............(781-1436-01 49.75
100s ea UD . . OOT81-1496-13 62.99
500s ea..... . 00781-1098-05 | 235.79
2.5 mg, 505 ea.......Q0781-1487-50 = 40.57
100s 4a - AT8t-1437-01 75.75
100s ea UD . WOTET-1437-13 90.99
SOs aa..... . ASTH-1T-O8 074
5 mg. 505 oa - OOFE1-14398-50 47.17
100s ca .. OOTE1-1608-01 69.95.
1003 ea UD -- OOTH1-1498-13 | 134.99
SO0s ea... ....0.00, BOTH1-1438-05 423.70
10 mp, 50se¢a........00701-1499-60 9 60.24
100s ga UO ........00781-1439-13 170.30
1005 ga....... .- OO7N-1499-01 194.75
SOs ea .- MOTB1-1438-05 45.25
(Heartland)
TAB, PO, 1 mg. 30s ea UD.81992-0057-30 = 24.71
{BLISTER PACK}
1 mg, 305 @a......... 81302-0057-38 = (24.71
31s ea UD ». 613892-0087-31 25,53
32s ea UO 61302-0657-02 26.35
4Ssaatd..., 61392-0657-45 = 97.06
60s #2 UD... O1902-0067-00 | 49.41

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AQ

RREBEEGE

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GEMCI/330

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i}iTes

GEMCITABINE HYDROCHLORIDE
(Lilly) See GEMZAR

GEMFIBROZIL

an

TAB, PO, G00 mg, 60s ez...

(Attzcripts}

TAB, PO, 600 mg, 60s 2a . .§4560-9695-00
GOs ga... 64569-8511-01
180s ea.. . S4568-8016-00
F90s #2... 54589-8511-00

(Apotex Corp.)

TAB, PO, 600 mg, 60s ea ..60505-0034-04
500s aa..........,,60505-0034-08
(Apoihecan)
TAB, PO, 600 mg. 60s ea. .62269-0320-60
5008 #a.......2..., 62269-1320-29
(QSMS)
TAB, PO (UNIT GF USE)
600mg, 60s ea ...... 60429-0081-60
(Heartland)
TAB, PG, 600 mg, 30s oa 0613902-0116-30
{BLISTER PACK)
600 my, 30s aa ..,.., 61392-01116-39
3isea UD ......... 81392-0116-31
325 4a UO eos 81992-0115-32
45s ea UD «  61992-01 18-45
60s 2 UD .. . 64392-0116-66
§0s ea UD... - 61392-0176-90
500s aa UG... .....81992-0148-54
2000s 23 UD. . 61302-0116-54
Ts ea UD, ,.,..61992-0116-011
{Major} .
Taw, PO, G00 mg, 50s ea ..00904-7732-52
5008 a2..........,. 00904-7732-40
{Madirex)
TAB, PO (UNIT OF USE)
600 mg, 30s ea UD... 57480-0809-06
(10X10)
600 mg, 1005 ea UD. 57480-0800-01
(Medizca)
POW, (U.S.P)

38779-0373-05
. S0779-0373-08
38779-0373-09

(PD-AX Pharm)
TAB, PO, 600 mg, 60s ea .. 55289-0411 -6¢

({Parke-Davis) See LOPID

(Phys Total Care}
TAB, PO, 600 mg, 30s ea, 54888-2353-03

60s oa 54908-2353-01
100s ea $4068-2353-02
(Quality Care)
TAB, PO, G00 mg, 240s ea. 60346-0967-98
{Southwood}
TAS, PO, 600 mg, 60s aa .. 68018-0540-40
(Teva)
TAB, PO, 600 mg, 60s ea .. 00003-0670-06
500s #a............ 00093-0670-05
{UDL)
TAB, PO (ROBOT READY 25%1)
600 mg, 25sea...... St079-0787-19
{10X10}
600 mg, 100s ea UD. . §1079-07a7-20
(¥angard)

TAB, PO, 600 mg, 100s ea. 00695-3559-29
(31X16, INSTIT USE,CARDED)
600 mg, 310s ea UD... 89615-3559-53
(31 X1QINSTIT, USE}
600 mg, 310s 4a UD. 00815-3559-63
(200M5 STRIPS INSTIT USE}

600 ma.

1000s eaUoO....... 00615-3599-43
{Warner Chilcott Gen)
TAB, PO, $00 mg, 60s ea... 00047-9084-20

500s aa............ 00047-0084-30
(Zoaith Goldline)
TAB, PQ, 600 mg,

10s ea UD... 00182-1956-39

GEMZAR (Lilly)

gemcltabina hydrochloride

POI, iJ (VIAL)
200 mg, ea

TOM, ed... 00002-7802-01

peveeeaean 00002-7501-04

ct en Les 1
10,60
$9.56 AB
86.02 AB
172.05 Aa
172.05 AB
59.60 AB
493.50 Ab
56.64 49.68 AB
472.92 444.32 AB
59,65 AG
35.32 AB
Waz Ag
36.50 Aa
37,68 aa
52.98 Aa
70,65 AB
105.97 AS
508.72 AB
2354.88 AB
1774.40 Ag
57.20 AB
469.10 Aa
32.85 AB
108.50 Aa
42.75
182.25
328.50
25.20 Aa
771 EE
13.43 EE
22.61 EE
76.19 EE
43.20 EE
59.10 AB
492.45 AQ
25.95 23.36 AB
103,82 85.64 Ad
98.70 AB
321.30 AB
321.80 AB
1038.06 AB
59.35 AG
493.50 AB
115.50 AB
93.12
465.59

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Z alates

t459-3.. Filed 08/05/03 Page 4 of 19

elute alte

GEN-XENE (Alra}
clarazepate dipotazsium
TAB, PO, 3.75 mg,
30s ea, CIV... 51641-0242-04

1005 ea, GV... 51641-0242-01

100s ea UD, C-IV...51681-0242-11

500s ga, C-IV ..,.,, 57641-0242-05
7.5 mg,

90s ea, CV... 51641-9243-03

100s ea, C-EV 51641-0243-01

1003 ea WD, CAV... 51641-0249-11

$005 0a, O-IV 2... 51641-0243-05
15 mg,

908 ga, CV... 51641-0244-03

1005 ea, G-IV...... 51641-0244-01

100s ga UD, C-I¥...S1641-0244-11
500s ea, CV ...... 51641 -0244-05

GENCYDO #1 (Waleda}
homeapathic product
ENJ, CAMP) .

t%, Timnbi2s 0.22... O055-0271-90
GENCYDO #3 (Weleda)
homeopathic product
(NJ, (AMP)

3%, 1m 42s ........ 00155-0273-90
GENCYDO #5 (Waieds)
homeopathic product
INS, WW (AMP)

5%, 1 ml i2s ........ G0T55-0275-90
GENCYDO #7 (Weleda)
homeopathic product

INd, 1d (AMP)
7%, 1m 12s ......., 00155-0277-90
GENERLAC (Morton Grove}
Jactulosa
SOL, PO, 10 9m/15 mi,
480 ml... 60432-0038-16
F920 Mw. G0432-0039-04

GENESA (Gensla Autamadics)
afbutamine hydrochloride
IN, iJ (SAN, PREFILLED}

0.05 mg/ml, 20 ml... 60703-4105-01
GENOPTIC {Allergan Inc)
gentamicin sulfate
SOL, OP. 3 mg/m, 1m! ,.. 19980-0117-01

SM... 11960-0117-05

(Phys Total Care}
S0i, OP, 3 mg/ml, 5 mi ...54868-1659-00
GENOPTIC S.0,P, (Atiargan Inc)
gentamicin sulfate
OIN, OF, 3 mg/gm,

3.500 gm.......0.4 00023-0320-04
(Phys Total Care)
Tae
OIN, OP, I mg/gm,

3.500 gm... 54868-1560-00

GENORA 1/35 (Phys Total Care}
sltinyl estradiol/narathin
TAB, PO, 35 meg-1 mg.

288 ea. c le 54868-0528-01

GENORA 1/56 {Phys Total Cara)
Mestranal/narethin
TAS. PO, 0.05 mg-1 mg,

288 €4............. 54868-9529-01

GENOTROPIN (Pharmacia/Upjoha}
somatropin, e-coli desived
POI, WW (INTRA-MIX, PF)

Cl eee)
7.25 AB
21.95 AB
32.50 Ab
105.75 AB
9.45 AB
29.95 AB
35.50 AB
145.75 Aa
13.45 AB
41.45 aE
43.70 Ag
201.75 ag
9.45
9.45
9.45
9.45
25.85 AA
98.77 AA
192.00 160.00
3.20 aT
44.50 aT
16.96 at
14,59 aT
17,06 aT
8.59 AB
9.25 Ag

1.5 mg, 5s ea 00013-2606-94 315.00 262.50
5.4 mg, ea...., .-. O0013-2626-84 210.00 175.00

(INTRA-MIX)
SB mg. gas... O0013-2616-81 210.00 175.00
$$ 4a... 80013-2626-94 1050.00 875.00

(ENTRA-MIX)
5.8 mg, 58 ea ........ 08012-2616-04 1050.00 675.00
.00013-2646-81 504.00 420.00

POI, Wd (SAN,PREFILLED.PF,)

0.2 mg. 7s ea... - 00013-2849-02
0.4 mg, 7s ¢a.. -00013-2650-02
0.6 mg, 7s ea ........00013-2651-92
0.8 mg, 7S ea........ O0069-2652-92
tmg, 75 8a.......... 00013-2654-02
Release
rer; caer eee

53.60 49.00
117,60 98.00
176.40 147.00
235.20 196.00
294.00 245,00

PECRCArnEEams (=16]0) ert] 594

2000 RED BOOK ANNUAL

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GENT SULF/PREDNIS ACE
(Allergan Inc} See PRED-G

(Allergen Inc) Sae PRED-@ 5.0.2
GENY SULF/SOD CL (Abbott Hosp)
INJ, le (LIFECARE}

00074-7a79-13

$0 mi 24s.......... 00074-7881-13

1.6 mg/ml-0.9%,
SO mi 24s.......,,.00074-7883-13

100 mg/100 mi-0.9%,
160 mi 24s ........QG074-TH85-23
ve

sees ses DND074-7804-23
0.9

a,
se reeees 00074-7866-23

(8. BraucyMcGaw)
HAJ, 1d (100 ME PAB CONTAINER)

1.2 mg/ml-0.9%,
SO ml... ....c. eee 90284-§812-33
1.6 mg/ml-0.9%,
50 mi.........0.... 00264-5818-38°
{150 ML PA® CONTAINER)
100 mgrid0 mi-0.9%,
100 mi... .........G0264-8810-32
60 mg/100 ml-0.9%,
WOM... 00264-5806-32
80 mg/100 mi-9,9%,
100 MW... O0264-5808-32
(Baxtar}
INJ, LJ, 1-2 mgyml-0.9%,
50 mi 245.......... 00338-0507-41
1.6 mgimi-0.9%,
50 ml 24s, .._......00938-0509-44
100 mg/100 mt-0.9%,
100 mi 24s ........00398-0508-48
60 mo/t00 mi-0.9%,
100 mi 24s ...,..,. 00330-0501-48
100 mi 24s ......., 00338-0597-48
0.8 mg/mi-0.9%,
50 ml 245.222... 00934-0503-41
(VIAFLEX)
0.8 mg/ml-0.9%,
100 mi 24s ......,, 00238-0503-4a
2 mg/ml-0.9%,
530 mi 245........,,00338-0511-41
GENTACIDIN {Ciba Ophth}

gontamicia sulfate
SOL, OP. 3 mg/ml, 5 mil... 58783-0365-05

GENTAFAIR (Quailtest}

geniamicln sulfate
SOL, OP, 3 mg/mi, 5 mi... 20603-7154-37
GENTAK (Akorn)
gentamicia sulfals
GIN, OP, 3 mg/gm,
3.500 gm.......... 17478-0284-35
SOL, OP. 3 mg/ml, 5 mi... 17478-0283-10
me, 17478-0283-12

8 9
OIN, OP, 0.3%, 3.500 gm .
TR 0.1%, 15 gm

30 gm
SOL, OF, 3 met, 5 Mc eesccsssssnscnencceeee
15 mi

{APP}
INd, WI (M.D.¥)
40 mg/m, 2 mi.......69323-0010-02
OM... $3323-0040-20

cia

es

287.28 241.92 AP
304.10 256.08 AP
306.38 258.00 AP
333.45 280.00 AP
306.38 258.00 AP
924.33 273.12 AP

10.68
11.41

9.76
11.09
411

222.91
237.89
258.82

222.91
263.94

213.59

237.89
258.62

5.62

5.30
12.64

(APP) See GENTAMICIN SULFATE PEDIATAIC

{Abbott Hosp)
iNd, Wi (VIAL, ADO-VANTAGE)
10 mg/ml, 6 ml 25s... W0074-3400-91
Bm 25s........... 00074-3401-01
10 mi 258...,...... 00074-3402-01
(VIAL, FLIPTOP)
40 mg/m, 2 mi 28s... .00074-1207-03

(Akorn) See GENTAK
(Allergan Inc) See SEWOPTIC
{Aliergan Inc} See GENGPTIC 5.0.P.

{Allscripts}
CRE. TP 0.1%, 15 gm..... 54569-1117-00
INJ, IJ (VIAL)

40 mg/ml, 2 mi 25s... 54569-3149-00

AP

170.11 143.25 AP
181.39 152.75 AP
195.05 184.25 AP

64.42

3.60
85.03

OIN, OF, 3 mg/gm, 3.500 gmé4569-1229-00 14.73

TP, 0.1%, 1 gm,....... 54569-1144-00
SOL, OP, 3 mg/m, 15 ml, .64569-1248-00

4.60
1t.9T

INreCOhY ed WO

54.25 AP

+

+ 906.38 258.00 AP
+ $24.33 273.12 AP

Nein

12
a

th ee Ot

287.28 241.92 AP
304.10 256.08 ap
306.38 258.00 AP
393.45 280.80 AP

10.68
11.44

9.76
11.09
Ww

222.91
237.89
258.62

222.91
263.94

213.59

237,89

258.62

1.80
6.00
12.41
1.80
4.43
2.40
4.61

5.30
12.64

‘BIATRIC

170.11 143.25 AP
181.39 152.75 AP
195.05 164.25 AP

64.42 54,25 AP
3.60 EE
95.03 EE
14.78 EE
3.60 EE
11.91 EE

AT

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i) }2 |) ND
PN eee DL
OL, OF, 3 mg/ml, § mi ...24206-0580-60 7.10 at
15 MI... cece eee 24208-0580-64 = 8.95 aT
rdinal Pharm)
RE, TP, 0.1%, 15 gim..... 69874-0192-15 13.07 EE
30 gM oo... ee ee 63874-0132-30 26.10 EE
IN, GP, 3 movgm, 3.500 O gmasara 1173-04 14.56 aT
7P.0.1%, 15 9m........B9874-O1T2-15 = 17.47 EE
BO QM. eeee cesses 63874-0172-30 33.54 EE
SOL, OP, 3 mg/ml, 5 mi... 839874-0133-05 11.44 EE
pees 69175-0350-05 4.56 EE
oH oF 3 raglan 3.500 gmS5175-1297-01 14.34 EE
weet SS176-0351-065 4.56 fE
- G6175-1218-05 6,98 EE
Weg ecseceseeees SS175-1218-01 9.50 EE
Ciba Ophth) See GENTACIOIN
Iba Ophth}
GIN, OP, 5 mgfom, 3.500 gm$8768-0251-36 15.16 EE
Ciay-Park}
seaee 45802-0056-35 3.00 aT
- 45802-0058-11 4,90 aT
00414-0058-05 86.40 AT
45802-0046-15 3.00 ar
45802-0046-11 4.99 aT
00414-0046-05 88.40 aT
{Censolldsted Midland)
CRE, TP, 0.1%, 15 gm...., 00223-4304-15 3.25 EE
Hal, Wd (VIAL)
10 mg/ml, 2 ml....... 00223-7715-02 «1.75 EE
. 00223-7714-DZ 37.50 EE
- 00223-7719-02 2.25 EE
--00223-7710-25 = 52.50 EE
, 00223-7721-02 50.00 EE
1 ooz23-7717-20 8.25 cE
00223-4306-165 99.25 cE
*”9q773-6651-08 4.73 fe
00223-8661-15 = 5.50 EE
Edwards} See ED-MYCIN
{Elkins-Sinn}
J. WI {WIAL, DOSETTE)
10 mofml, 2 ml 25s...00641-0394-25 27.13 15.50 AP
40 mg/ml, 2 mi 25s,..00841-0395-28 39.89 22.79 AP
(M.0.M)
40 mgm,
20 ml 10s..,....... 00641-2434-43 159.47 91.13 AP
{Falcon Ophthalmics)
‘OL, OP (DROP-TAINER)
3mgiml, 5 mi........ 61314-0633-05 7.00 aT

GUAR MPN UL OVEN
ren eset
OYinCt 1m Obs amt hac

iKOlUlSl=15e mm

0.1%, 15 gm..... 00168-6071-15 3.60

IN, “TP, 0.1%, 15 gm..... O168-0078-15 = 3.60
--00904-1907-05 = 5.60
Lee sseeeeenees 96904-1907-35 7.35
..90779-0632-03 13.50
3e77s-0832-04 = 54,00
38779-0632-05 176.63
. .- SOTTS-O892-08 800.00
eee ee eee etee 30779-0632-09 1468.00
* (Oremad] See OCU-MYCIN
Ocusott) See GENTASOL
(Pacifle Pharma) -
OL, OP, 2 mg/ml, Smt... 6G758-0188-05 = 8.75

{Paddack)

POW, 100 gm........-....Q0574-0419-01 258.86

GENTAMICIN SULFATE (Pharma Pac)

COIN, OP, 3 mg/om, 3.500 gmS2089-1426-03 16.50

SOL, OF 3 mg/ml, 5 ml ...82000-1322-00 = 14.99
TE ML eee eee 52059-1922-16 27.60

RTeeTIRIcasie

at

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mim

Jed 08/05/03

uma il AAS ae
(Phys Total Cara)
GRE, TP, 0.1%, 18 9m..... §4968-3524-00 2.94 FE
OIN, OP. 3 eng/gm, 3.500 gmS46G-1040-01 10.23 EE
SOL, OP, 3 mg/ml, $ mi ...$4868-8745-01 2.86 EE
16 ml... ee 54868-6745-02 6.02 EE
(Qualitest) See GEVTAFAIR
(Quatitast)
ORE, TP, 0.1%, 159m 2.90 at
GIN, TP, 0.1%, 15 gm 2.90 AT
(Raway)
CRE, TP.0.1%, 15 gm.....00686-0056-35 2.55 EE
OIN, OF 3 ma/gm, 3.500 gm00686-0575-55 4.75 EE
TP, 0.1%, 15 gmt... 00686-0046-35 = 2.10 EE
SOL, OP 3 mg/ml, § mi ...00686-0580-60 5.10 EE
TBM... eee ee eee 00866-0580-64 6.00 EE
(Schein)
CRE, TP, 0.1%, 30 gm.....00364-7308-56 94.75 aT
(Seharing) See GARAMYCIN
(Solopak Labs)
INS, ld (M.0.4,} ;
10 mg/ml, 2 mi 25s...99769-0001-02 37.50 AP
40 mo/ml, 2 mi 25s...39769-0014-02 57.50 AP
20 ml 28s.......565 39769-0014-20 © 387.50 AP
(Southwood)
OW, OF 3 ma‘om, 3.500 gmSA036-6026-09 18.60 cE
SOL, OF, 3 mg/mi, 5 mi ...58018-6027-01 18.60 EE
(Thames)
CRE, TP.0.1%, 159m.....40158-0162-20 = 3.58 at
BO QM... .-ceceeaee A0186-0162-68 = 5.72 aT
OIN, TP 0.1%. 15 gm..... 49158-0191-20 © 4.00 aT
BO QM... cee 49758-0191-68 5.80 aT
(URL}
SOL, OP 3mo/mi,5 mi ...00677-0901-20 6.07 aT
(Zenith Goldline)
SOL, OP, 4 mg/ml, 5 mi... 001B2-1695-82 6.18 aT

GENTAMICIN SULFATE PEDIATRIC (APP)
gentamicin aulfate

(NJ, Ld (A.V)
10 mg/ml, 2 ml....... 63323-0513-02 1.46 AP
(6.ONPF) .
10 mg/ml, 2 mi....... 63323-0173-02 1.46 AP
GENTASOL (Ocusoft)
gentamicin sulfate
54799-0510-05 6.38 2.95 AT

SOL, OP, a mg/m, Sm...
y i

Amend}

GRY, {U.8.P,}
17947-0183-02 $.40
2 VST AN189-03 17.50
17517-0183-05 = 58.80
(Galiigot)
CRY, (U5.P}

BE QM i. ce cece eens §1552-0207-25 = 17.70
POW, 125 gm..........08, S1582-0297-12 = 35.52
(Integra}

POW, (5.7)

25 9M............. ee O5324-5227-25 919.97

WOO gM. ....--. eee G5324-5227-35 99.45
({Medizca)

CAY, (U.S.P.)
13.80

GENTRAN 40 W/DEXTROSE (Baxter)
dextran 40/dextrosa
INJ, i, 10%-6%,

500 mi 245 003398-0272-04 2386.32

Page 5 of 19

331/GG/HY

AVS aes ©

aia

GENTRAN 40 W/SODIUM CHLORIDE (Baxter)
dextran 40/sad ct
INJ, MS, 10% -0.9%,
500 ml 245

settee OG338-0270-03 2386.32

GENTRAN 70 W/SOCIUM CHLORIDE (Baxter)
dextran 7O/sod ol

IRD, 1, 6%-0.9%,

500 mi 245 ........ 00338-0285-03 1762.92

GEOCILLIN {Plizer U.3.°.6.}
carbentelllin indany! sodium
TAB, PO, 362 mg, 100s ea. 00649-1430-66 208.63 175.68

GEONE {Alphagen)

spap/outal/calt
CAP. PO, 325 mg-50 mg-40 mg,
100s sa. u 2a.75 AB

_ 50743-00401

GEREF (Serono)
sermoralin acetate
PDI, 1) (VEAL)

0.6 mg, #4..2... 2404. 44087-4906-01 16.61
PMY, A... eee 44087-4010-01 = 28.63
GEREF DIAGNOSTIC (Sarcne}
sarmorelin acatale
POI, 1d (VIAL)
22.69

50 meg, 02

baveeeeeeee 44087-4050-01

GG-200 HR (Alphsgen}
gualionasin
TAB, PO, 200 mg, 100s ea. §9743-0019-01

GG/HYDROCODONE (Allsczipis)
LIQ, PO, 100 mg-5 mg/S mi,
480 mi, C-llt.....-. 54569-4281 -00

(Alphagan) Sea COTUSS-Y

(Apharma USPO) See HYCOSIN EXPEGTORANT
(Amar Ganarics) See CO-TUSSIN

(Aschor} See KWELCOF

(Cypress Pharm) See VITUSSIN EXPECTORANT
(Dursmed) See MEDCOOIN

(ECR) See PNEUMOTUSSIN HO

{Ecanalad} See CLEARTUSS DH

(Econalah) See FENTUSS EXPECTORANT

(Endo Labs} See HYGOTUSS EXPECTORANT

(Ethex)
Lid, PO (AF. OF. §.F}
100 mg-S mg/S mi,

24,92

43.50

480 ml, Gl... §0177-0881-87 = 45.72
960 mi, C-ME....... SO1T?-0401-120 95.44
(Halsey Drug)
SYR, PO (A.F.,D.F.S.F.CHEARY)
100 mg-5 mgs mi,
480 mi, C-i....... GO879-0803-18 48.13

(Hl-Tech) See HYOAO-TUSS
(lomed Labs} See VICOCLEAA
(Knoll Labs) See VICODIN TUSS EXPECTORANT

iKramecs Urban}
LIQ, PO, 106 mg-5 mgs mi,
480 ml, C-Ill...... 62175-0122-70 32.00

{Malor) See COOOTUSS
{MoNoil,A.A.) See M-CLEAR
(Marton Grove) See HYDROCODONE GF

PUADUE FREDERIC

ye) OL yeas When the Ry May Constipate

Oho moun Heo

Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 6 of 19

RX PRODUCT LISTINGS
nil

53016-0146-21
. 50016-0146-24
-  SB0U-0145-28
- G8016-0145-39
-- 5B096-0146-49
- -56096-0746-00
~ 58016-0147-06
-- S8018-0147-10
-- 5O015-0147-12

cess... BOOTB-0147-00

eva)

OR, PO, 125 mg/S mi,
daedeeeeeeee 00093-4#25-73
we tet ee eeeee 00093-4125-74
250 es ml, 100 mt . 00093-4127-73
200 ME... 00093-4127-74
PO, 250 mas 100s ¢a . 60093-$172-01
100s ea. , . 00093-9971-01
1000s ea . - 00093-1172-10
00993-1171-10
00993-1174-01
00093-1173-0%
.- 00089-1174-10
00093-4173-10

lon) See TRUXCILLIN VK

RAR BERCEEESESESERES

kL)

PO (10X10}
260 mg, 100s ea UD .. 51079-0613-20
500 mg, 100s ea UD. .81079-0616-20

er Chilcott Gon}

PO, 250 mg, 100s ea. 00047-8848-24
10005 82 .......... 90047-064a-32

KCILLIM VK (PD-AX Pharm)

PO, 250 mg, 10s ea .. 55289-0206-t0
20s 2a

APP

tees 55289-0206-30
««. 55289-0206-49
+++ BOSE 0979-40
«+ SG289-0207-15

, §5289-0207-20

- 55289-0207-26
-.- §5250-0207-30
fence eeenaes 55260-0207-40

We beeeees 69323-0113-10
WDINE ISETHIONATE

a.
werneeees §4092-0160-80
Je tae eee eenee §4092-0189-a1

PAM (8. Braus/MteGaw}
beeeee 00204-1972-10

H
Gaw) See PENTASPAN

.- D430-0580-28
NE LACTATE
} See TALWIN LACTATE
INE/APAP
PAPENTAZOCINE

ee 1
2.57 FE
2.94 EE
4.43 EE
3.67 ce
4.90 EE

12.24 EE
1.38 EE
2.30 EE
2.76 EE
3.45 EE
3.68 EE
4.60 EE
4.83 EE
6.52 EE
6.44 £E
6.90 EE
9.20 EE

11.50 EE

13.80 EE

23,01 FE
2.16 AA
434 AA
2.95 AA
$.07 AA
5.34 AB
3.34 aE

42.79 AS

42.79 Ag
9.24 Ag
9.24 Ag

84.54 AB

84.54 AB

12,60 9.90 AB

24.60 17.60 AB
4.12 Aa

59.47 AB
2.88 AB
3.53 Ag
7.96 Ag
3.75 AB
3.83 AB
4.13 AB
244 AB
3.45 Aa
3.68 Aa
3.38 AB
4.07 AG
5.25 ag

98.75 ap

138,00 195.21 AP

34.62

104.26

79.51
2.60 EE
0.50 EE
1,80 EE

11.90 EE

UO obst nhita i) ae

PENTAZOCINE/ASA
SEE ASA/PENTAZOCINE

PENTAZOCINE/NALOXONE
SEE NALOXONE/PENTAZOCINE

PENTHRANE {Abbott Hosp)

455/PEPC|

a

tHe iba cs yt) 1h

Pricing
tronic Drug
we Clinical Information

Yele).@

mathoxytlurane - (a00) 722 30
SOL, IH, 99.9%,
15 mi 208......0... @0074-6864-08 1795.034511.60 (Gena
Global Pharm
PENTOBSARSITAL SODIUM
(Abbott Pharm) See NEMBUTAL SODIUM TER eae Pc) ot 59.48 a
(Wyeth-Aperst) (CAPLET.BULK PACKAGE)
INJ, 1d (TUBEX, 226X1 1/4") 400 mg. 500s ea .....00195-7044-02 185.58 AB
§0 mg/ml, (000s ea ........,.00995-7044-03 924.05 AB
2 mi 10s, CAl...... 09008096802 36.51 2845 AP | icschet Marion} Seo TRENTAL
PENTOPAK {Zcetiea Pharm) (Mylan)
pentoxifyliine |
TER, PO {CAPLETBLISTER PAGK) TER, PO, 400 mg, 100s ea. 00378-8957-01 83.80 aM
400 mg, 90s ea...... 64909-0001-90 61.96 AS | (Purepac)
PENTOSAN POLYSULFATE SODIUM TER, PO. A00 mg, 100s a neeeiiad 2 a
(Alza) See ELMIAON 10008 ba... 00228-2611-96 564.21 8
PENTOSTATIN
(Supergen) Sae NIPENT
PENTOTHAL (Abbott Hasp) ,
thiopental sodium
PDI, Wd (SRN, READY-TO-MIX) i wal if o.4 ih fale
250 mg,
26s ea, Clll 2... 00074-6419-01 269.27 226.75 Fi
(SAN, ATM LIFESHIELD) 7 ra re a
ane © Con OTOL ar 0 tes a Sa | ors bel oe
25s aa, Coll ....... 00074-3951-01 296.88 250.00
(SAN, READY-TO-MIX} Tele fy sys) (1&3
400 mg,
255 9a, C-lll....... 00074-8419-01 334.28 281.50
(SRN, RTM LIFESHIELD)
400 mg,
285 €4, Cll! ....... pag74-3352-01 361.59 304.50 r
(SRN, READY-TO-MIX} Py
ge TLTOLAS
258 ea, Cail ...,,.. BOU74-6420-01 973.47 314.50 a? 8 A
{BRN RTM LIFESHIELD) Sele) 7 06) ag Acme On
mg,
255 64, Cll ......, 00974-3953-01 404.34 340.50
(STERILE WATER COMBO PAK) (Sidmak}
500 mg, TER, PO, 400 mg, 1005 43.50111-0608-01 45,50 ua
258 8a, C-lll......, QOOT4-3529-04 290.64 244.75 500s a voeeeee ne S0TT1-0609-02 225.00 aa
(BULK PACKAGE}
tom, eo 400 mg, 100s ea.38245-087240 58.40 AB
a, O-ll -BAIT02 162.39 136. . .
(HERILE WATE couso pane 2162.39 198.75 TOS 0. a, O00G3-5116-01 59.50 Aa
tom, BOOS 0a.........-..S8245-0872-60 297.00 Aa
25s oa, C-All .......00074-6435-01 502.61 423.25 5000s aa ..........96245-0872-43 2970.00 a
SUS, AC (ABEO-SEAT) (uot)
400 mage. TER, PO (25X1 AQBOT READY)
tm Gt... OO074-7236-04 41.24 34.73 400 mo, 25sea ......51879-0880-19 14.58 13.10 AB
PEN SFE (10X10)
thereat a R KIT (Abbott Hosp) 400.mg, 1008 ea U0. .S1079-0889-20 57.80 $2.02 AB
PDI, Id (100 ML VIAL, DILUENT) {Upahar-Smith) Sea PENTOXIL
2.5 gr,
{Vangard)
‘ine wt vat ‘civ +01 1080.33 909.75 TER, PO, 400 mg, 100s ea 00815-4529-20 59.40 AB
ie (1X10, |NSTIT USE,CARDED)
25s ea, C-fll ....... NDO74-6259-04 1110.31 935.00 Ny inst uss ee Tt a
som ML VIAL, BILUENT) 400 mg. 3105 ga UD..008%8-4829-63 171.81 AB
255 64, Clit... O0074-8504-01 1897.831429.75 borg STRIPS.INSTIT USE)
fe ML VIAL, DILUENT) 10005 aa UD ....... OUG15-4523-43 554.23 AB
258 ¢a, Cll oo... OOS74-B108-04 1714.451443.75 (Zoetiea Pharm) Ses PENTOPAK
PENTOXIFYEEENE (Andre Pharmaceutical} PENTOXIL (Upsher-Smith)
TER, PO. 400 mg. 100s ex. 62037-0851-01 59.51 AB | pentoxifylline
500s ea... #2037-0051-05 297.55 as | TER. PO, 400 mg, 100s ea. 80245-0027-11 59.40 AB
(Apotex Corp.) 100s ea 0........ 00245-0027-01 61.99 AB
TER, PQ, 400 mg, 100s 0a .@0505-0003-08 55.15 B 5006 aa. 00245-0027-18 Aa
5008 @4............ G0505-9033-07 263.06 AB
(Dixon-Shaae)
TEA, PO, 400 mp, 100s ¢a.17236-0862-01 59.40 EE
500s ga... 17236-0882-05° 297.00 ke | PEPCID (Merck)
{ESI Laderla Generics) SEE SECTION 7 FOR COLOR FHOTO
TER, PO, 400 mg, 100s e2.59911-A290-82 55.48 AB | itu, u (PREMIXED IN GALAXY)
10008 #4 .......... 59911-3200-04 554.60 AB ‘ad neet
(GSMS) 50 ml 245.0000... BO00E-3537-50 175,39 140.31
TER, PO (UNIT OF USE) (6.0.
400 mg, 905 ea.,....60829-0789-90 54.89 37.95 FE 40 mg/mt, 2 mi 10s...00606-2598-04 41.35 33.98
PURDUE FREDERICK

ORE ED lava When the Ry

May Constipate:

VALSARTAN
(Novartis Pharm.) See DIOVAN

VALSTAR (Medava)
valruticin
IMJ, 1 (SINGLE USE VIAL, PF}
40 mg/ml, 5 mi 4s....59014-0216-04 1782.00
S mil 24s...........59014-0216-2410692.00

VALTREX (Glaxo Wellcome}
valacyclovir hydrochloride
SEE SECTION 7 FOR COLOR PHOTO
TAB, PO (CAPLET)

500 my, 42s 6a ....,. 00173-0933-03

100s ea UD......., 00173-0933-56
1gm, 20s ea..._..... 00173-0565-00
(Allscripts)
TAB, PO (GAPLET)

500 mg. 42s ea ....,. $4569-4280-02
(Cheshire)

Ge E (CAPLET)

S00 mg. t0s 4a ....., 55175-5404-01
20s ga - 55175-5404-02
59175-5405-05

(PO-RX Pharm)
TAB, PO (CAPLET)
500 mg, 7s @a........ 55288-0926-07
105 #4... i...., §5289-0926-10
(Phys Total Care)
Gaara
TAB, PO (CAPLET)
500 mg, 10s aa ....., §4066-3804-00
428 tA. ee §4066-3004-01

{Quality Care):
TAB, PO (CAPLET)
~ $00 mg, 10se¢a...... 62462-1012-01
425 4.0.0.0... 82682-1012-04

VALU-RITE {McKesson}

CAMPHOR SPIRIT

caniphor

U0, 60 mi... ee 49348-0148-30

insulin syringes/nagdies
SAN, {0.3 CC, 296X1/2")

100$ @4,............. 49348-0908-10
(0.5 CC, 28Gx1/2"
1005 ca 49348-0906-10
(0.5 CC, 29Gx1/2
1008 #a......0....... 49348-0909-10
(1 CC, 2861/2")
10s ea.........0.... 49348-0907-10
{1 CC, 296X1/2"}
1008 @@.. 200.000... 49348-0910-10
EPSON SALT
magnesium sultate
GAA, 480 gm,............49948-0018-75
1920 gm. ............ 49345-0018-63
VANACET (GM Pharm)
apap/hydrocadone
TAB, PO, 500 mg-5 mg,
100s aa, G-Ill..,... §6809-0828-01

VANACON (GM Pharm)
Oo/hydrocodone/pseudoeph
SYR. PO (PEPPEAMINT)

200 mg-S mg-60 mg/5 mf,

480 mi, C-lll.....,. $8609-0925-01
VANADIUM PENTOXIDE (Baker, J.7.)
vanadigm oxide
POW, (REAGENT)

500 gm... 10106-4207-01

VANADOM (GM Pharm}
carisoprodol
TAB, PO, 350 mg, 100s ea .§8809-0424-01

VANATRIP (GM Pharm)
amitriptyline hydrochloride
TAB, PO, 50 mg, 100s ea ..58809-0717-01

VANCENASE (Scharing)
beclomethasone dipropionate
ARD, NS, 0.042 mg/inh,

, G0005-0649-02
00085-0041-06

aad [=iO0).4 pe icleeKe See

Cs ae] a 13208

129.83

37.83
68,82
29.68

29,27
48.54

35.20
132.66

43.99
194.46

1,99

39.95

39.95

147.96

59.08

43.31
43.38
44.74

Lc ¢
Lo Umi

Allscripts)

ARD, NS, 0.042 mo/nh,
TQM... eee §4569-3656-00

(Cheshire)

sbeeeeneeenean 55175-1891-01

{Pharma Pac}
aia
AAD, NS, 0.042 mosinh,
TOM. eee 52959-1139-08

Southwood}

AAD, NS, 0.042 mgfinh,
W7gm... eee 58016-6075-01

VANGENASE AQ (Cheshire)

SPA, NS, 0.042 mg/nh,
25 gis... 2.2... SSTTS- 1892-54

Pharma Pac)

SPR, NS, 0.042 mg/inh,
28 OM......... ee. $2959-1166-00

fet eeee ees 54868-1282-01

cee eee eee ees 56016-6204-25

SPR, NS, 0.084 mg/inh,

ID OM... eee 00085-1049-01
Allscripts}
SPR, NS, 0.084 mg/inh,

19 gM........0..., 54569-4465-00
Pharma Pas)

SPA, NS, 0.084 mg/ina,
19 gm.....-...2... §2969-1437-15

VANCERIL (Kay)
beclomethasone diproplonate
ARD, 1H, 0.042 mginh,

16.800 pm... 00085-0736-04
Allaceipts)
AAD, 1H, 0.042 mosinn,
16.800 gm......... 54569-0067-00
Chashire}
ARD, tH, 0.042 mg/inh,
16.800 9m........, §5175-4435-01
Pharma Pac)
EE
ARD, IH, 0.042 mg/inh,
16.800 gm......... 52959-1447-01
Phys Total Care}
AAD, |H, 0.042 mg/inh,
16.800 gm......... 54860-1841-01
VANCEREL DOUBLE STRENGTH (Key)
beclomethasone dipropionate
AAD, 1H, 0.084 mg/h,
5.400 gm 3s .......00Q85-1112-03
te 12.200 gm......... 00085-1112-01
* Allaccipte)

ARD, 1H, 0.084 mg/inh,
5.400 gm 3s ....... 54569-4922-00

Pharma Pac)
ARO, 1H, 0.084 mgvinh,

Aa 12.200 gm. ........ 52959-1456-01
VANCOCIN HCL (Baxter)
dextrose/vancamyein
INd, Id (§.0. GALAXY PLASTIC}

BN 5% 500 mg/100 ml,

BN 100 mi ..., 00938-3551-48

aN 206 mi 6s.......... ORS38-3552-48

Eiri

43,98

48.65

40,15

37.44

heclomethascae dipropionate monohydrate

43,73

49.71

68,69

96.54

5.12

53.12

690,26

4175

41.75

44.94

49.71

49.71

a
53.33

53.33

57,52

17.53
207.36

ed ats

VANCENASE AQ DOUBLE STRENGTH (Scharing)
beclomethasone diproplonale monohydrate

ESL01 6) Mpa ary

te)

{Lilly}

vancomycin hydrochloride

PDH, ld {ADD-VANTAGE}
500 mg, ea 00002-7257-01

105 a............,00002-7297-10

(TRAYPAK)
500 mg, 258 ea ...... 00002-1444-25
{ADD-VANTAGE}

Tom, @a............, 00002-7298-01
{TRAYPAK)
Tom, ea............,00092-7321-04
(ADD-VANTAGE}
Tam, 10s ¢a......... 00002-7298-10
(TRAYPAK}
loom, 25s ¢a......... 00002-7321-25
(BULK VEAL}
10 gm, ea......0...., 00002-7355-01
PDR, PO, 250 mg/5 ml,
29 Me... eee G0002-5105-01
20 mi Gs........... 0G002-5105-16
500 mg/6 mi,
120 MI wu. 60802-2372-37

VANCOCIN HCL PULVULES (Lilly)

vancomycin hydroshioride

CAP, PO, 125 mg, 20s ea .. 00002-3125-42
250 mg, 205 #a ...... 00002-3126-42

VANCOLED (Ledarla Std Prod)
vancamyelo hydrochloride
POI, iJ, 500 mg, 105 aa ...00205-3154-8a

1 gm, 105 ea... ......00205-2154-15
Som, @a........ 5N205-3154-05
(Allserlptz)
POI, I, 1 gm, 105 ea...... 54565-4868-00

VANCOMYCIN HYDROCHLORIDE
(APP) See LYPHOCIN
(AFP)
POL, WJ (BULK PACKAGE)
10 9m, #............ 63323-0314-61

{Abbolt Hosp)

POI, Id (ADD-VANTAGE}
500 mg, 10s ea ...... 00074-5534-01
(VIAL, FLIPTOP)

500 mg, tds ea ......G0074-4332-01
(ADD-VANTAGE)

1 gr, 105 ea,......,. 00074-8535-01
(VIAL, FLIPTOP)

Tom, 10s 4a,........ (00074-8533-01
(BULK VIAL)

SOM, @a.......0..... 00074-6509-01

(ESI Ladarie Generics)
POR, PO, 250 mg/5S mi,
20 miGs........... §9991-5a75-02

(Lederle Std Prod) Ses VANCOLED
(LItly) See VANCOCIN HCL
{Lilly) See VANCOCIN HCL PULVULES

(Madisca}

POW, (UL5.P)
tam..... -40779-0274-06
Sqm. 98779-0274-03
2igm.. -- 98779-0274-04
100 gm............,, S877941274-05

VANCOMYCIN/DEXTROSE

SEE DEXTROSE/VANCOMYCIN

VANEX FORTE-D (Jones Pharma)
spm/maihscop/phenyiaph
TER, PO, € mg-2.5 mg-20 mg,

100s @a.,.......... §2804-0127-01

VANEX GRAPE (Jones Pharma)
epin/dihydrocodeiae/phenytephippa
LO, PO {AF $6)

4723 mi, C-V. 20.2... §2604-0240-06

VANEX-HD (Jones Pharma)
epm/hydracodone/phenyleph
SYR, PO (AF, D.F, CHERRY)
2 mg-1.67 mg-5 mg/S mi,
473 mi, Cll 52604-0300-06

{integra} ,

POW, (N.F}
100 gM... ee 05324-5161-35
500 gm. 05324-5161 -45

8.28 ap
82.80 AP
195.01 Ap
16,08 AP
15.60 AP
180.8 AP
390.01 ap
$6.01 AP
47.08 AA
222.45 aA
314.39
107.56
275.13
54.69 43.75 AP

109.39 67.51 AP
54.69 43.75 AP

159.32 AP

272.64 AP

197.63 115.90 AP
992.14 321.80 AB
274.91 231.50 AP
764.16 643.50 AP
VF1S0 144.76 AP

1493.54 AA

27,00

115.75

459.94

1421.30

98.17

106.76

52.38

16.54
44.22

ase 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 8 of 19

era tN eT To
VICOTUSS (Southwood)
gg/hydrocadona
SYA, PO, 100 mg-5 mg/5 mt,
120 mi, CHil.......88016-4184-04 © 11.50
480 rol, Cll. ......S8016-4184-16 © 41,95
VIDARABINE
(Monarch) See ViRA-A
VIDEX (Bristol-Myer Gac/imm)
didanosine
SEE SECTION 7 FOR COLOR PHOTO
CTB, PO (MANDARIN ORANGE)
25 mg, 60s aa........ OOOET-8650-0 28.44 23.60
50 mg, 60s #a., -W0087-6631-01 $6.86 47.19
100 mg, 60s ea .....,00087-6652-01 113.69 94.35

150 mg, 605 az ...... QO087-€653-01 170.57 141,55

200 mg, 60s ez ......00087-6665-15 227.40 189.71
POR, PO (5.0. PACKET}

100 mg, Ms ea ...... O0087-6814-43

167 mg, Ws ea ...... 00087-6645-43

250 mg. 30s 4a ...,., §0087-8616-43

Allscripts}

56.85 47.18
94.95 78.80
142.13 117.95

CTB, FO (MANDARIN ORANGE}
100 mg, 12s ea ...... $4569-4313-01

Phys Total Care}

2167

CTB, PO (MANDARIN (RANGE)
100 mg, 60s ¢a..,,., $4868-2502-00 125.06

VIDEX PEDIATRIC (Bristol-Myer Onc/lmm)

didanosine
POR, PO, 20 mg/ml,
100 Ml... G0087-6612-41 34.70 25.80
200 ml oo... OO087-6693-41 78.51 62.89
_ VINATAL (Breckenridge)

vitamin, prenatal
TAB, PO, 200s ea ......,,, S1891-0158-08 = 16.95
VINATE 90 (Breckenridga)
vitamin, prenatal
TAB, PO, 100s ea ....,,...51991-0152-01 20.95
Major
TAB, PD (10X10)

0s saUO O0904-5397-61 16.95
VINATE 1 (Breckenridge)
vitamins, prenatal
TAB, PO, 100s ta ......... $1991-0155-08 20.95
VINATE ULTRA (Breckenridge)
vitamin, prenatal
TAB, PO (10X10)

100s ea UD 51891-0154-11 29.95

(APP)
INS, I (VIAL)

Fmg/ml, 10 ml,...... 03323-9270-10
(Bediord)
POA, WJ (VIAL}

10 mg, 103 ea........ §5390-0091-10
(Faulding Pharm)
POI, tJ ¢VIAL)
10 mg, #a....-....... 64703-0310-14

43.23

212.50 AP

37.50 ap

(Lilly} Sea VELBAN

VINCASAR PFS (Pharmacia/Upjohn}
vincristine suliste

{Abbott Hozp)
INS, Wd (S.0.4)
1 mo/mi, 1 mi... G0703-4402-11 35.77 30.12 EE
2M. 80703-4412-11 71.54 60.24 EE
(Faulding Pharm)
INE, WW (S.0.V,PF)
¥ mofme, 1 mt........ Gt7G3-0309-06 31.75 aw
2m, oo... eas 61703-6300-16 38.25 AP

(Lily) See ONCOVIN

aD eles ‘Die lB eye Soe .

{PharmactaAjpjoha) See VINCASAR PFS

VINOAELBINE TARTRATE
(Glaxo Wellcome) See NAVELBINE

VIOKASE (Paddock)
amylase/lipase/pratease

Pow, PO, 240 gm......... 00574-0115-25
TAB, PO

39,000 u-8000 u-30,000 u,

1006 #a............ 00574-9411-64

Tg

ee) -1e)

138.10

33.60

{Amand}
POW, 454 gm,.........00. 17317-0918-01 273.06
(EXTERNAL WATER SOLUBLE)
454 gm, .........0.0. T7317-O017-01 273.00
VIOXX (Merck)
tofecoxih
SEE SECTION 7 FOR COLOR PHOTO
SUS, PO (UNIT OF USE, STRAWBERRY)
12.5 mg/5 mil,
THO mi... OO008-3784-84 106.00 90.00
25 mg/S ml, 150 ml ..00008-3785-64 108.00 90.00
Tada, PO (UNIT OF USE)
12.5 mg, 308 aa...... 00006-G074-31 72.72 60.60
100s ea YO ........0G808-0074-26 242.40 202.00
100s €4..........., O0906-0074-68 242.40 202.00
(SULK PACKAGE)
12.5 mg, 1000s e3,.,.00006-0074-82 24274.002020.00
8000s ea... 2... OOG06-0074-8019397,.0016 180.00
(UNIT OF USE)
25 mg, J0s oa........ Q0006-0010-31 72.72 60.60
100s ea UD. . 08008-0910-28 242.40 202.00
1005 ga............ OO006-0110-68 2472.40 252.00
(BULK PACKAGE)
25 mg, 1000s aa .....00006-0110-82 2424,002020.00
8000s 04 .-........ O0006-0110-8019392.0016160,00
PO-AX Pharm}
TAB, PQ, 25 mg, 14s ea...55289-0486-14 62,85
Phys Tatal Cara)
TAB, PO, 25 mg, {0s 4a ...54868-4116-00 29.69
VIQUIN FORTE (ICH)
hydroquinone
GRE, TP (W/AHA)
4%, 30 gm... 00187-0398-31 41.45
VIRA-A (Monarch)
yidarabina
O1N, OP, 3%, 2.500 9m....61870-0367-71 27.05
VIRACEPT (Agouron)
Aalfinavir mesyiate
POR, PO, 50 most gm,
144 9M... 63010-0051-90 59.45
TAB, PO (CAPLET)
250 mg, 270s ea ..... 63010-0010-27 609.12
3008 48............ $3010-0010-40 676.80
(Chashira}
TaG, PO (CAPLET)
250 mg, 27s aa ...... 56175-5208-07 70.59°
Phys Tole! Care}
TAB, PO (CAPLET)
250 mg, 270s aa... S4858-3947-00 619,79
VIRAMUNE (Roxane)
asvirapine
SUS, PO, 50 mg/S mi,
240 mio... (0054-3905-58 60.94
TAS, PO, 200 mg, 60s ea. .00064-4647-21 278,64
1005 oa... 40054-4647-25 464.40
(10X10,BLISTER PACK)
200 mg, 100s ea UD. , 60054-8847-2§ 472.20
{Allscripts}
TAB, PO, 200 mp. 3s ea... S4559-4581-04 13.93
O08 #4... 54569-4561-00 278.64
PO-RX Pharm)
TAB, PO, 200 mg, 3s ea ...55289-0392-63 14.82

Phys Yolal Care}
TAB, PO, 200 mg, 100s 2a . 54058-3844-00

472.59

PEE F218 (0) Begs Sec (0129-1

2000 RED BOOK ANNU#

ace ea hietts

VIRAZOLE (ICN)
ribavirin

ete ae

PDR, IH, 8 gm, 4s ea...... 00167-0007-01 5279.40

VIRILON (Star}
Mathyllastosterone
CAP, PO, 10 mg,
~ 1008 ea, GH 2.2... OG076-0301-03

1000s ea, C-Hl...,, 00076-0301-04

VIRILON IM (Star)
fastasterons cyplanate
IN, [J (M.0.V.)

200 mg/m,

10 mi, CHill 2... 00G76-0301-710

VIROPTIC (Monarch)
trifiuridine
SOL, OF, 1%, 7.500 ml....00173-0968-02

(Allscripts)

SOL, OP %, 7.500 ml... ,54569-2108-00
{Phys Total Cara}

SOL, OP, 1%, 8ml........ 54868-1175-00
(Southwood)

cigs

SOL, OP, 1%, 7.500 ml ....58018-6454-01
VISCOAT (Alcon Surgical}

chondroltin/sod hyaluronate
SOL, OP (SAN)
40 mg-30 mg/ml,
6.500 mi GA065-1839-05

O8065-1839-75

VISIPAQUE (Nycomed)

fodizanol

INJ, LE (VIAL)
55%, 50 mi 105...... 00407-2222-04
(BOTTLE)

55%, 100 mi i0s,.... 00407-2222-02 1111.06

{FLEXIBLE CONTAINER}

55%, 100 mi 10s. .... QO407-2222-12 1148.00

(BOTTLE, 200 Mi}

55%, 150 mi 10s... O0497-2222-03 1620.47

(FLEXIBLE CONTAINER)

55%, 150 mil fOs..... O0407-2222-13 1674.47

{BOTTLE}

55%, 200 mi 10s_..., 00407-2222-04 2012.35

(FLEXIBLE CONTAINER}

55%, 200 mi 10s... O0407-2222-14 2079.41

(VIAL)
65.2%, 50 mi 10s... 00407-2223-01
(BOTTLE)

65.2%, 100 mi 10s... O0407-2223-02 1234.59

(FLEXIBLE CONTAINER}

65.2%, 100 ml 10s... DO40?-2223-12 1275.65

(BOTTLE, 200 ML}

65.2%, 150 mi 15... 00407-2223-03 1704.95

(FLEXIBLE CONTAINER)

65.2%, 150 ml 10s... 00407-2223-13 1761.18

{BOTTLE}

65.2%, 200 mi 10s ...O0407-2223-04 2099.53

(FLEXIBLE CONTAINER}

65.2%, 200 ml 10s... 90407-2223-14 2169.53

WISKEN (Novartis Pharm.)

Rindolat

TAB, PO, § mg, 100s ea... 20078-0111-05
10 ng, 100s aa ....., 00078-G073-05

VISTACOT (Truxton)
bydroxyzing hydrochtoride
IN, ld (VIAL)
50 mg/m, 10m ..... 00463-1101-10

VISTARIL (Ptizer U.5.P.G.)

hydroxyzing pamoata

CAP. PO, 25 mg, 100s ea ., 09060-5410-66
$0 mg, 1005 ea 2... 08069-5420-66
100 mg, 100s a2 ..... 00069-5430-66

SUS, PO, 25 mg/5 mi,

120 rad 45.......,,. CNNS-S4ag-g7
480 mi... 2.0.2... 08 0-5440-99
(Phys Total Care) .

CAP, PO, 25 mg, 100s ea ., $4868-0169-01
VISTARIL 1M (Ptizer U.S_P.G,}
hydroxyzine hydrochtorida
Id, LF (VIAL)

50 mg/ml, 19 mt ..... 00049-5460-74

36.00 GI
935.20 Bl
H.19 At
79.65 Al
73,65 Al
90.54 al
55.94 al
126.00
165,60
567.06
617.53
103.55 Au
137.13 AB
6.40 cE
96.14 80.96 AB
117.20 98.69 AB
144.00 121.26 AB
146.69 123.59
146.69 123.53
103.82 az

19,31 16.26 AP

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Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 9 of 19

Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 10 of 19

Ba
ax PRODUCT LISTINGS 167/ADDER
Pr Aaa i]t eg Py ee LL Te eatad ela 1 a | ate rad chm VT ee eed .
ti
southwoad} (Pharma Pac} ofa
CAP, PO, 200 mg, 255 aa..52969-0547-25 17.48 AB i AR
BOL, OF, 0.5%, 19 ml ..,..$8076-6464-02 73.80 §2959-0517-30 20.10 AB el
ULAR PF [Allergan Inc) 52959-0517-35 21.00 AB we
tira tromethamnine .. $2959-0544-10 20.99 aa
so, oF, 0.8 S2959-(546-12 24.63 aa tlt
0.400 mi 12s UO.,,00022-9055-04 39.39 - 42950-0544-16 30.15 c }
ACUTECT (Berlex Imaging) CSanoness aie |
cna gom apeltide . 52089-0544-30 56.98 at
.§2959-0544-50 | 90.48 AB
64570-0501-10 $00.00 Berlek
85470-0801-05 2500.00 4 rye teal t 2088054409 | 217.00 as a wispy) f
ys Talal Cara) 50 NFO MI ea. =
ACYCLOVIR CAP, PO, 200 mg, 25s ea..54868-2006-00 14430 EE maim $0 mi... 8areqoaerat
EAP, PO, 200 mg, 100s ea. 35.30 30s 4a Sase-3906-02 17-05 FE “62794-0403-21 43.00 AP H
TAB, PO, 400 mg, 100s 2 70.50 Ms Wa... --$4866-3996-01 22.28 EE 62794-9403-97 430,00 ar
800 mg, 100s ea "9460 50s ea. _54960-3900-03 21.36 EE
aieeripts} TAG, PO, 400 mg, 30s ea..54868-3997-00 14.97 EE (el Wg ON RED INUS or *
v 800 0: . 71 EE , NM ($.0.¥.,REDI-~ asPF,
ep PO 200 mg, tSs.ea..54569-4482-42 15.68 fe 0 9. 308 a. E eeae at me! EE $ mail, "9
54569-4482-00 27.99 f | 7 100 mi 10s... §9911-2463-02 547,39 469.91
vee 84560-4462-02 36.58 ce | (Purepac) 200 mi 10s .......- 59911-2464.02 1174,74 939.79
§O$ €4..cesesee eee §4560-4482-01 52.25 EE CAP, PO, 200 mg, 100s a. 09228-2605-11 111.92 Aa , . . .
TAB, PO, oa ng, 28 ca... S4560-4765-00 4.08 EE 5008 aa... 2... 00228-2805-50 530.7% aa | (Faulding Pharm}
vccenunepeces 5a509-4765-01 28.54 EE | TAB, PO, 400 mg, 100s 2a.00226-2806-11 216.97, AB | SOL, IY (VIAL)
iss “a _.54569-4705-04 30.58 EE $008 aa... cseseeee- 0228-28006-50 949.30 AB 25 mg/ml,
; 25s 4a _.$4569-4765-02 50.96 EE 800 mg, 100s 4a .....00228-2607-11 421.67 Aa 20 mi 10s 64709-0211-21 490.04
Mi 455 ¢a  $4569-4765-05 61.16 EE 5005 @8.......2..45 00228-2607-50 1854.25 ao 40 mi 10s. «2 69703-0311-43 954.00
E §0s #a.. . S4569-4765-03 101.93 £E | (quality Care} (Glaxe. Wellcome) See ZOVIRAX
800 mg, 385 e2 ..... S4S69-4724-00 132.20 EE | Cap PO, 200 mg, 25s ea..62662-1021-02 16.13 EE -| ADAGEN (Enzon) -
(Alpharma USPO} TAB, PO, 400 mg, 105 ea..62682-1020-01 15.99 £E | aegadamase bovine .
gus, PO, 200 mg/S m 185 @a.....,....-.82682-1020-05 16.86 FE | SOL, iM (VIAL) .
cant 480 m rr . .00472-9082-16 190.18 Aa « 259 d€..0.... ease 62642-1020-06 = 12.13 EE 250 wml, 1.500 mi ...57665-0001-01 2200.00
pharma/Xa e anbaxy Pham} .
Sus. PO mM 3 GAP, PO, 200 mg, 100s ¢a.6304-0682-01 108.95 AB aoe vg (eater Paarm)
5008 #8. ......ccee o4-0652-05 $05.25 AB
§ mi'50s UD .,...--SO962D459-80 241.20 as | tas, 70, 40; mg, 1008 ea. sroanoett 206.40 ag | TER. PO. 30 mg, 100s ea..00026-8840-51 126.77 Aa
I 100s ea UD ,....-2:08028-B841-48 . 192.10 Aa
*{apothecon} . : 800 mg, 100s aa ..... .6320- 0505-01 401.37 A
1000s aa O0026-A841-54 1287.70 AB
GaP, PO, 200 mg, 100s sa. sart2-4108-02 106.36 80.57 AB | (Sehel
TAB. PO” 400 mo, 100s ex .SO77Z-4168-02. 206.40 173.81 AS (Sehetn) 50008 #8 .....<..2: OO0RE-€841-72 BEE52 as
ae ise. sarreaet-tt 2 32800 AB “CAP PO, 200 mg: 100s ea .0Osed-2692-01 97.70 a 60mg, 1008 0a ......00026-8851-51 225.82 ac
gq, 1008 4a... _ 01.38 338.0 TAB, PO, 400 mg, 100s aa.00344-2688-01: 169.60 Aa .00028-0851-48 297.10 6c
(Baécogen) 7 . BOOS #8... Oe384-2080-08 900.60 AB -Q0026-9a81-54 225819 BC
CAP, PO, 200 mg, 100s ea. s20%3-0204-10 9070 ag |, BOG mp, 1006 ea ...,00964-2600-01 368.65 AB -, BOOZE-9851-721 1200.99" ac
| 4008 88, ..ce ceases + 2 amet $5070 AB | (stason Pharm) 3.2 == 1 ,DUD26-8081-8t; 263.54. -, EC
2 (Gfrishad Tach) vee . CAP: PO: 200 mg-100s an. 30763,2041-00 (97700 ° AB fe eal. . ...
TAR, 2O, 400. mg, toe eagureaneitbet: 189.80" ie i AB) 5 oy 4008 8, eso NTR ROE $50.70 a Allséetptxy = TN 4
: 1 way LY. | ended cugpavans Bree

200 mg, 1004 614ag 0113-01 36865 AN | ciecas »
4 apis = 28T TaN Ey

fest isda Genet ALAA : oreo 200 mg, 1008 ex, S4053-0040-40.,. 97.20 . sereahB | TER: PO; $0‘ 2054724 saseé:seg1-00 739.9972" AB

ECAP: PQ, 200 mg, 1008 az. BS011-5831-031,. 97-70. AB LL, ae, BOOK OBL. coe s ene $5058-4040-70 “arm colle 1008 fa ioc. 84600-00101 GA qian Al .

v a gm Mage) 80 9,.308,08.. 79.95, ASOT 9MGZ-00 | 71.137 231 * SE '

SURLA-S16HDE 189.6t"~ "AB || TAG, PO, 400,mg..100¢ on; 0000S-8042-01° 128.60,
se somnae coal 0 engea-scas-os. 205.05" SAR [eon Hg, 30s-ea. -b9s2 3 S450083-00..,. 8202 wa #7 ac
mm wethn eo :  DOOGS-ERAT-GT" SBE. AB (PO-nX Pharmp® PEAR PH ne

A 8008 00260 EOS BOAT RS Tra ge “Ab: .
: } qupepes FE mee TER, PO, 609. 08 ta: sézee-esas30 92.0044 7. BC

ag aie : fae, PO (10X10).+ fog MEA cave Agee > ee ‘a0e'ea. SESE SBAPE I TLR A

i «200 mq, 1008°¢2 UD. -#1079-0678-20-. 99.18 79.92 Aa .
vant 8 Ne

-§1078-0870-20— 194,40-155.52. ‘a
. “"§1070-0878-20 355.10 284.10 AB
" (Wateon)s +2 he 5 teehee ‘sana wy + 2
TAB, PO, 400 ma. 1008 «a. repsag-asie-at 216722" ee |
: 900 mg, 1008 faa... SUSHI, “421 ai 7h. AEE

+ (Zenith Gotdiiney: 74 S°ARAEE. oe
CAP, PO, 200 mg, 100s aa. 90172-4260-40 111.88 55%**
ane df 008, 0, UD 2... O018E- 2086-60 111.88
"HOO8 a7, 8. i... OUTPZAZE6-TOs- 550.68,
TAB, PO, 400 mg, 1098 9a ,00172-4267-40 216.91...
“00182-8200-89 216.91

exsetansettssnso'
: 450.00 ects
mee LOO shat,
(Me Sebel: ket eee
CAP PO, 200'mgs Ode on? SSOTO-OGG? OF." 111.65+ Air: AB

in ee

. Ree a mg, 208 ex, 2002-4028-02 §1.6@2'S1.23 ws

S$370-0558-07 421.42.
60 mg, 30s ea... b2682-H02t-02° 68. 52 mr ae

56370-0556-08 2001.75" *

: a8 ‘*90172-4267-70 947.20:
CAP, PO, 200 mg, 100s ¢a . 00378-2200-01 ants me ae 00172-4268-80 421.80 “ ve AB 0 APALENE “HAL: Syd
Lieve 00378-20005 $30, ab “*" aqygg-2867-B0:. 42080 5,37 AB || (Galdarma) ee s o1egent i. am. -
a 00172-4208-70 1781.09 - AB - ADDERALL (Shire US) eF. PBR wi gk a

amphetamine & dextroamphatamine mixture.

ACYCLOVIR SODIUM (APP). Do ge ‘
{SPOS IV (VIALPR) soa “ 2 me a
“af 0m, er.. «6saea bd! Sat 21008 aa, Cl.,.....
y -SOUNYS.OMAR) :

see BO mgimlitg mes ST "agses-na25-10 2 a2"
st 2Ombliceese BRIDLE 2p A287

A8. FO, 400 sig, 108 4a. -55280-0482-10 :
128.02. S528G-0482-12 + - (Abbott Hosp) a
Tao. POS, IV (VIAL, FLIPTOP) Fo ee
* Su28G-0462-25-; Wee 3a BOO mgs 10¢.ea 00074-4427

$5280-0462-30 3} 73 1000 mg: 10s oa <UOU7A-4452-0% 2084,751
RRP Bee P| Gaeirdy Sk Metts bea:
, 49884-0565-01 ‘1187! aoe +77 POS) IV (S.ON..RE) :
A0884-0566-01 216.72 500 mg, 108 da...... ‘ssne-ontt-s 528.00 TS
00 mar $0s.c0-——-B28H-061-70 10 s05e.cg #8" AP -

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tt pase t-oae- 01 seen |

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oe - — >) D 7 moant ALO TF ilod Nein () WI AMNO

DEXAM/276 . Looe ao. - . 2001 RED BOOK
ema Cie SiC | Baseacia ate es | Betsy ae Ay a DT
(Novartis Ophth) See DEXACIOIN 7") (itaridian Phare, use) (Roxane) See DEXAMETHASONE INTENSOL
(Movarils Ophth) See DEXAGINE. - . --..- --- POW, NA {MIC “82901-2022-01 36.00 (Southwood) .
(Ocumad) See OCY-TROL _.02991-2022-02 129.00 ELI, PO, os mq/5 mi, ssa1s-o3s0-20
(Ocusott) See POLY-DEX , Weesiane-b4 55800 TAB, PO, 058 mia. its aa lsastea2o00 61.00 ft
{Pharma Pac) . (Morton Grave) 0.75 mg, 12 ¢a...... 58016-0208-12 9.35 FE.
Ole, OF 1 mya Smt 000 u/gm, vy ELI, PO (RASPBERRY) 158 e@...... -» B8016-G287-15 11.69 EE
3.500 gm......... S2059-0407-01 17.65 EE "05 mai mi, ats fa... ..58018-0283-20 15,58 EE
DEXAMETH/WEO SULF/POLYMYX {PHARMA PAC} 240M ..-.ecee eee 60432-0466-08 23.50 aA von ea Ne a tf
SUS, OP, 1 mg-3.5 mg-10,0G0 u/mi, © (PD-AX Pharm} amg, 106 ta. " gu0té-D781-10 21.40 EE
Bam... 52950-0085-01 19.06 EE | TAB, PO, 0.75 mg. 10s en. 55269-0905-10 3.35 BP + :
sn ican FR) nan Be
walitest) REE rrr nnn is aa... + . £E
SUS, OP, 1 mp-3.5 mg-10,000 uml, (Par) - 155 ea... . SBOU-O7ET-15 32.10 EE
SM. cc csencaevase 00609-7120-37 7.72 at | TAS, PO, 0.25 mp, 100s oa soane-cO8D-O U0 a 20s ea... \ 50016-D781-20 42.80 EE
} : 218 8a... . SOOG-O781-21 44.94 EE
(Raway) (498B4-0084-01 21.00 ap 24s ea S4016-8791-24 5136 FE
OIN, OP, 1.mg-3.5 mg-10,000 wom, 40884-0084-10 173.25 oP 28s ea... ""gg01e-D784-28 59:92 :
3,500 gre... Q0E86-0705-55 7.50 EE -4BEMM-D088-01 40.00 BP us ” E
aaanad0es-10 220,00 IP 30s ea... . 58ST6-D781-30 64.20 EE
{Southwood) """ pg84-0086-01 76.00 BP 40s ea... . 58018-0781-40 = 85.60 EE
OIN, OP. 1 mg-3.5 mp-10,000 u/gm, “000s a... “ 49084-DO86-10 §27,00 BP SOs ea.... .- 58016-0781-50 107.00 EE
- BBO16-B0S9-03 27.25 EE 42mg, 505 42.......,. 4DAS4-DG87-03 95.80 HP | (URL)
,000 u/ml, 1005 ba..........., 40884-0087-0% 182.00 BP | EL!, PO, 0.5 m/5 ml
MI cscseseerenee 58018-0041-01 | 26.50 EE 1000s 8a .. + 49884-0087-10 1501.50 BP 2a0ml....,.  heees OO87?-0601-42 15,75 AA
saemeneesensers S80t6-6041-05 © 18.95 EE 6 mg, 50s ea. ,, -49884-0129-03 102.00 GP | TAB, PO, 4 img, 100sea...G0677-0800-01 95.80 BP
(URL) See DEXASPORIW - i ts ee vovevee 49884-0120-01 193.80 BP (Vintage)
arma Pac,
(Zenith Goldline} “§2080-0302-12 8.95 EE TAB, PO (DOSE PACK)
SUS, OP, 1 mg-3.5 mg-10,000 uml, TAB, PO. 0.75 mg, 125 0a. See eae? BOT EE 0.75 mg, 128 0a......00254-2687-06 7.26 BP
SM. cscaeeeeseee 00182-7623-62 7.79 aT 28s ex... ..52950-0302-28 19.54 EE | (Zenith Goldline)
DEXAMETH/TOBRAMYCIN (Phys Total Care) TAB, PO, 4 my, 100s ea ...00882-1614-01 37.17 BP
(Alcon Dphthaimle) See TOBRADEX TAB, Po, 075 0. ds 8 Re Tieoy es = DEXAMETHASONE ACETATE
a > IS Od. = =I t
DEXAMETHASONE 4 m9 10s Occ SAOOEOZTTO 3.72 EE (Cnt) ‘See CORTASTAT LA
. (Consalldated Midland)
. {Qualitest) SUS, Ly (VIAL}
ELL, PO. 0.5 mami, ELL PO, 0.8 mg/S mi
100 Mlesiniinimunnneinnunnnn 1198 | EH PED gS mm oosea-1148-56 11.70. an | SOMOS... 00223-7300-06 11.50 EE
re j TAB, °6 “DOSE PACK} (Gallipot}
0.75 mg, 125 8a...... COROS-S191-11 = 7.24 BP | POW, NA (MICRONIZED,U.S.P)
OM eseesees 51552-02461 27.00
PO of mis im, 5gm.. SISSZBG2GDS 71.78
60 DL... ces seers GO348-0977-31 11.09 EE gm. -51852-0024-10 168.00
_ cee TAB, PO, 0.5 mg, 125 aa... ee Ee 446 EE 25 gm 51652-0024-25 378.00
(Alcon Ophthalmic) See MAXIDEX 0.75 mg, Tes Ba... --40346-0800-12 re te (Hyrex) See SOLUREX LA
{Allscripts} _ GO346-0550-30 19.46 EE | (Keene) See DEXONE LA
ELI, PO, 0.5 mg/S mi, G2662-5000-02 9.45 (Legere) See DEXASONE L.A.
$0346-0679-06 11.28 te "
WOM... 54560-1034-00 11.08 fe Mi
TAG, PO, 0.75 mg, 7s ea... 54569-0922-05 1.29 EE S0N46-DATE-08 15.04 ze | (Major}
os ea gaSepEa2RES 220 BOMG-0479-15 | 28.21 EE | SUS, lJ (VIAL)
ose ag ° FE i --GOMEO4T9A9 36,72 EE Bmoimt, Smi........ Dosos-o00e-05 29.03 BP
0.75 mg, 125eaUD..B4S69-3110-00 7.2400 CEE | SOME-DATE-GO 93. / FE | (Phys Tata! Care)
$4580-0322-08 4.67 EE ° SUS, Id (VIAL)
54560-0336-01 3.40 8 mo/ml, 5 mi........ S4868-3977-00 29.26 EE
. S6S60-0920-88 4.99 EE 7 mi Fi RG .
. 54560-0324-07 6.65 EE aba
S4560-8324-05 9.98 EE Beh Cz tila) 4 bFspt 8) BL oe bad 8) 2 oo)
{Alpharma USPD) Fe iecman elie eos
ELI, PO, 6.5 mo/S mi,
100 mio... eee 00672-0972-33 11.08 AA Sa eee ;
240 ml .....--eee-e O0472-0972-08 = 19.54 AA faye bael ati) renee
ee DEXAMETHASONE ACETATE MONOHYDRATE
(Consolidated Midland} (Medisea)
ELI, PO. 0.5 mg/S ml.
100 ml. .-00223-6406-01 7.50 EE POW MAWES) neeate
240 mi 00229-6498-02 17.50 EE NA (USP) serrp-poree3 94
Tag, PO, 0.5 mg, 1005 2a, 00229-0790-01 6.75 EE sarenevent oom,
0.75 mg, 100s ea.....00223-0701-01 7.50 EE “98779-0078.04 429-40 180.00
1000s ea ..... ..00223-0791-02 6750 . EE " ,
1.5 mg, 1005 ca......00223-0792-01 15.00 EE DEXAMETHASONE INTENSOL (Roxane)
examethasone
(ECR) See DEXPAK SOL, PD, ¥ mg/ml 30 mi. O0066-3176-44 17.30
{Gallipot) nis wan:
POW, NA, Ygm...........59552-0490-01 23.40
Som.... - O1552-0430-08 95.82
(Major)
| EL, PO, 0.5 mg’ ml,
240 mE eee p0gns-D972-D9 23.28 AA
TAB, PO, 0.8 mg, 100s ea..00904-0249-68 10.99 5P
0.75 mg, 100s ea 00904-0244-60 = 6.65 BP {APP}
4mg, 1005 ea....-... 60904-0246-60 = 22.54 bP SOE, IJ (VIAL)
{Medisca} 4 mgimi, Uml........ 63323-0165-01 1.04 AP
POW, NA (1.5... MICRONIZED} (M.0.¥.)
TOM. cceccescceee S8779-D405-06 13.23 11.70 4 mg/ml, 5 mil...,.... 63323-D165-05 2.66 ar
5 gm, . S8779-0405-02 49.84 44.10 SOM. 63323-0185-30 9 15.95 AP
10 gm .. B8779-0405-01 92.55 91,50 (Abbott Hosp)
25 gin... +. 98779-0405-04 = 214.59 189.90 SOL, Id wo
WOO gm... BS779-8405-05 772.92 684.00 WOmgmt, lo mi...,.00703-3526-01 4.94 4.76 AP

(Merck) See DECADRON {Akorn) See AX-DEX

nim DES OO) OD clrcless-ne na escne

RUS Peso ee a Merce Oeste et eRs el icmkem siete tern nieeM (2.4.4) 8 es) yd

Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 12 of 19

RX PRODUCT LISTINGS

Sa Bite
(Atiseripts)
SOL, OF 0.1%, 5m ...... §a569-1224-00
SOL, lv (5.0.4)
4 mon 25 mi...... §4569-4728-00
(M.0.V.}
4mgfml, 30 m....... 4569-3040-00
(Amer Regent)
soe, li (8.0.4)
4 mg/ml, 1 mi 258. ...00517-4909-25
MON}
€mgiml, § ml 25s... 00817-4905-25
30 mi 255.......... 00517-4930-25
{dausch&Lamh Pharm)
SOL, OP, 0.t%, 5ml...... 24208-0720-02

(Chint) See GORTASTAT
(Clint) See COATASTAT 10

(Consolidated Midtand}
SOL, &1 (AMP)
4 mg/ml, 1 mi 25s... .00223-7461-25
{DOSETTE}
4 mg/ml, t mi 24s... .00223-7407-01
tml 1005.......... 00223-7403-01
{VIAL} :
4 mg/ml, $mi,,.,.,.. 00229-7404-05
1G ml... .  00223-7408-10
26 ma... 90223-7406-25
30 mi.,..... 20223-7402-10
OP, 0.1%, 5 mi .. 00223-6495-05
US Mi... eee 00223-6489-15
(Etkins-Sina)
SOL, iJ (M.0.Mq}
4amgml, § ml, ......5 00641-2273-41

(VIAL, OOSETTE} ©

10 mg/ml, 1 ml 25s... 00641-0367-25

(M.0V)
10 mg/ml, 10 mt... 00841-227T7-41
(Gaillpot)
POW, NA (U.S.P}
1gm.... ..81852-0025-01
Sqm... . .59552-0025-05
10 gm... ,-§1852-0025-10
2§gm...... ws $9552-0025-25
(Hyrex) See SOLUREX
tLegera} See DEXASONE
{Major}
SOL, OF, 0.1%, 5 mi...... 00904-3008-05
(Medisca} :

POW, NA (U.S.P)

38779-0871-03
. 38779-0071-01
38779-0071-04

(Merck) Sea CECADRON
(Merck) See DECADRON OCUMETER

(Meridian Pharm)
POW, NA (U.S.P.)
TQM... leassee anes 62999-1041-01
Sqm. . 62991-1041-02
gm... ~ 62991-1041-03
25 QM... eeea eae 62991-1041-04
{Ocumed) Sea OCU-DEX
{Paddock)
“POW, NA (U.S.P)
VO QM... cece eee 00574-0403-10
(Pharma Pac)
SOL, OP, 0.1%, 5m ...... 52959-0258-03
(Phyz Total Care}
SOL, IJ (M.D.¥.)
4 mgm, 5 mi. . 94868-0971-00
30 mi.....-. 54668-0471-06
OP, 0.1%, 5 ml......... §4968-3129-00
(Primedics} Sea PRIMETHASONE
(Qualltast)
SOL, OP, 0.1%, Sml...... 00803-7105-37
(Rawa

iv}
OIN, OP, 0.05%, 3.750 gm. 00606-0640-55
SOL, We (VIAL)
4 mgm, 1 mi 25s... 00586-4901-25
OP 0.1%, Smi......... 0685-0720-02

(Southwaod) -
OIN, OP, 0.05%, 3.500 gm .58018-6022-01
SOL, OP 11%. Sm... §ag18-6024-01

(Steris)
SOL, IJ (M.D.V)
"10 myvaal, 10 ml... .00402-0861-10

eenreee

hath sas ah RS

PCT a me Lt
14.99 EE
27.19 EE
280" EE
27.19 AP
$4.69 AP
195.94 AP
"
16.51 AT
25.00 EE
3.25 EE
60.00 EE
2.75 EE
4.00 EE
7,00 EE
5.50 EE
3.75 EE
3.50 EE
138 1.10 AP
Sa2t 46.57 AP
15,98 12.30 AP
15,72
53.16
95.76
210.00
16.25 at
53.91 47.70
101.70 90.00
732,90
33.00
135.00
261.00
585,00
103.95
17.29 EE
B15 EE
21.59 £E
Ww? EE
14.69 at
3.20 EE
23.00 EE
4.25 EE
6.34 EE
15.56 EE

2409

uaa lela

DEXAPHEN (Quality Care}

daxbrontphen/pseudoaph sult
TER. PO, § mg-120 mg
10s aa...

60948-0711-10
. 60346-0791-28

DEXAPHEN SA (Major)
dexbromphen/pseudoeph sull
TER, PO 6 mg-120 mg.
FOODS @8.........05. 00904-0667-60
500s #a...........- 00904-0657-46

DEXASONE (Legere)
daxamethasone sodium phosphate
SOL, I (VIAL)

4 mg/ml, 5 mi.......- 29332-0070-05
DEXASONE L.A. (Legere}
dexamethasone acetate
SUS, W {MIAL]

4 mgmt, Sml........ 25332-0011-05
DEXASPORIN (URL)
dexamath/neo sulf/aalymyx
$US, OP, 1 mg-3.5 mg-10,000 u/ml,

SM... csc eeeee eee 90677-0900-20

{Phys Tatat Care)

Tie
SUS. OP, 1 ma: 3.5 mg-10,000 ufml,
GMs §4968-1070-0+

DEXBROMP HEN/OM/GG/PSEUDOEPH
(Dayton} See DEKA

DEXBROMPHEN/PSEUDOEPH SULF
(Brecksnridga) Sa PHARMADAINE

{lamed Labs) Sea OAIXOMED
(Major) See DEXAPHEN SA
{Qualllest) Sse DREXOPHED SR

Pl ae a

3.98
3.06

14.99
69.95

5.95

29.55

8.08

5.63

DEXCHLORPHEN/GG/PSEUDOEPH SULF
(Schering) See POLARAMINE EXPECTORANT

DEXCHLORPHENIRAMINE MALEATE

TEA, PO, 4 mg, 100s sa, ,.§2152-0014-02
6 mg, 1005 ea........ §2152-0015-02
(Breckencidge}
TER, PO, 4 mg, 100s aa, ,.51991-0470-01
6 mg, 1005 0&0... §1991-0473-01
(Marton Grava) :
SYR, PO (ORANGE)
2 mg/S mi, 480 mi, ,,.60432-0539-16
MO ME. 60492-0539-28
({Quatitest)
TER, PO, 4 mg, 100s ea .. .00603-3199-21
6 mg, 100s ea........ 90603-3199-21
{Schein}
TEA, PO, 4 mg, 100s oa ...00384-0585-01
G mg, 100s ga........ 00364-0586-01

{Schering} See POLARAMINE

{Amida}
42.95
59.95

29,50
62.95

42,36
271.10

34.50
44.25

47.50
$2.25

(Schering) See POLARAMINE REPETARS

{UAL)
TER, PO, & mg, 100s ea...
(Zenlih Goldline)
TER, PO, G mg, 100s aa...0082-1015-09
DEXEDRINE ($K Saecham Pharm}
dexlroamphatamine sulfate
TAB, PO, 5 mg,

100s ga, G-H,,..... 00007-35t9-20

(Phys Total Care)

G0677-G869-01

(is

TAS, PO, 5 mg,
SOs ea, C-ll........ $4868-3403-00
100s #2, O-tl,...... 54668-3403-01

97,18

52.25

30.90

15.56
26,768

DEXEDRINE SPANSULES (SK Beacham Pharm)

daxtroamphetamine suttate

CEA, PO, § mg,
1005 ag, C-l....... Go0g?-3512-20
10mg,
100s ea, C-li....... 00007-3513-20
15 mg,
100s aa, C-ll....... 00007-3514-20
(Phys Total Care)
CER, PO, 5 mg,
50s ¢a, Gell... sae 54968-3402-00
1003 ea, G-H. ww. §4a68-3402-01
10 mg,
50s ¢a, C-ll..,.,..,.54868-3611-00

73.65
92.00
117.65

31,04
59.74

36,10

et

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“47/4 0AIN

a a

DEXFERRUM (Amar Ragent)
fron dextran

SOL, W (§.D.M)
50 mo/mi, 1 ni 10s... 00517-0134-10
2m 10S........... 00517-0234-10

188.53 SP
377.05 BP

DEXMEDETOMIDINE HYDROCHLORIBE

(Abbolt Hosp) See PRECEDEX

DEXONE LA (Keene)
dexamaethasane acetate
SUS, LJ (VIAL)

S mgm, Saml........ 00588-5344-75
DEXPAK (ECR)
dexamethasone
TAB, PO (TAPERPAK)

1.5 mg, 518 ga......, 00095-0086-51

DEXPANTHENGL (Amer Regent)
SOL, IM (5.0.¥.)
250 mg/ml,
@ mb 25$...,-.-.-.- 90517-0131-25

(Consolidated Midland)
SOk, IM (VIAL)

250 mg/ml, 10 mi...
SOL, IM (VIAL)

256 mg/ml, 10 mi...

{McGutt)
SOL, tM (M.0.¥)
250 mg/ml, 30 mi...

(Marit) See 0-PAN

00223-8235-10
90223-7414-10

49072-0161-30

DL-PANTHENOL (Amend)
dexpanthanal
POW, NA (U.S.P.)

106 gm 47317-0880-03

- 17317-0880-06
17317-0880-05
DEXRAZOXA
(Phacmacia ton) Sea ZINECARD
DEXTRAN {Abbott Hosp) °
SOL iV (VIAL, TEAATOP, HM)

32%, 100 mi §s...... Od074-8085-01
DEXTRAN 1
(Taylor Pharm) See PROMIT

DEXTRAN 40/DEXTROS'!

22.50 BP

23.95 19.96 EE

101.56

5.00
6.00

6.95

222.83 187.65

OSE
(Aubott Hosp) See LMD W/5% DEXTROSE

(8. Beaun)
SOL, IV (eLASS CONTAINER)

10%-5%, 500 mi..... 00264-1962-14.

145.04

(Baxter) See GENTRAN 40 W/DEXTROSE

DEXTRAN 40/SOD CL

(Abbott Hosp) See LO W0.9% SODIUM CHLORIDE

(8. Braun)
SOL, IM, 19% -0.9%, 500 miag264-1953-10

146,65

Baxter) See een TRAN “ W/SODIUM CHLORIDE

DEXTRAN TO/DEXTROSE (Abbott Hosp)
SOL, 1¥, 6H-5%, 500 mi 12800074-1507-03 1302.59 1096.92

(Cooper Suegleal} See HYSKON

DEXTRAN 70/SO0 CL (B. Braun)
SOL, IV (GLASS CONTAINER)

6% 0.9%, 500 ed... O0264-1960-10

54.58

(Gaxter) Sea GENTAAN 70 W/SQDIUM CHLORIDE

DEXTRAN 75/SOD CL {Abbott Hosp}
SOL, IV, 6%-0.9%,
500 mi 125 ...,..-. 00074-3505-03 1302.591096.92

‘PURDUE FREDERICK:

‘When- the Ry May. Constipate'

4. 95'mg; 90s
a # S1senub

(BLISTER PACK)
75 mo, 30s 42..
315 0a UD...
- 32s a UD,
" MSs ea ld.
- 60s oa OD...
SOs ea UD.
500s ea UD
~ 2000s a2 UD.
TO000s ea UD
100 mg, 30s ea UD.
(BLISTER PACK)
100 mg, 30sea....
31s aa UD...
32s ea UD.
455 ea UD.
60s ea UD...
90s ea D....
500s a U0...
10000s ea UD.

{Major}

{10%10)

25 mg, OS fa ....
(10X10)

fOO0s aa ........

1000s aa .....
7§ mg, 100sea ....
(10X40)

100 mg, 180s ea...
{10X10}

(Martec)

25 mg, 100s ea ....
50 mg, 100s ea .
75 mp, 1008 ea...
100 mp, 100s a3...

mete

75 mg, 305 0a UD...

CAP, PO, 10 my, 1005 aa ..

10 mg, 100s ea UD...
-- 00904-126-60

25 mg, 100s.eq UD.
. 08904-7281-20
. 00904-1262-60

76 mg. 10s ea UD...
. 00994-1264-60

100 mg, 100s ea UD...

CAP, PO, 10 mg, 100s ea.
. -52055-0448-07
.- 52505-0449-01
- .82555-0331-01
« S2555-0332-01

,B1392-0728-00 |, 39.06
SCA giag2-o728:51 *217:00, | Sus

Veisa2-0726-64 1858.00"
7161392-0728-91 4340.00

- 61392-0729-30

+ 81392-0729-39
81802-0720-31
61392-0720-32

»G1992-G729-60
+ 61392-0729-90

 61302-0730-34
-61992-0730-32
-69992-0730-45

.~ -81392-0730-60
,» 81302-0795-50 ©
+» 81392-0730-61 3
-61392-0730-01 7770.00

008D4-1260-60
be904-1260-61

. 00904-9261-61

-- 08904-1282-61

W9904-1262-80

- 00904-4263-60

O0904-1263-61

G0904-1264-61

-52555-0447-01

81392-0729-46 ~° 31,32

GVG92-0729-5¢ WEG
03992-0729-84 1302.00
«B1392-0729-31 6960.00
-81392-0730-38

Pi eae sey

20.88 AB
20.88: AB
258.
2297 * a8

Oe
$1.76 AB
62.64 7 :-AB

AE

AB

AB
23.31- AB
2331
24.08 AB
24.88 AB

44.97 AB
46.62 AB
69.93 AB
88.50 AB

AB
25.35 AB
28.19 aa
32.85 AB
35.50 Aa
32.50 AB
18.25 AB
51.45 AB

438.50 AB
29.00 AB
85,29 AB
39.50 AB
92.99 AB
31.58 Ab
41.60 AB
55.20 AB
91.58 AB
99.30 AS

ai DEO 0 OD lice cee oA Oseee

ict samees OO Gein er m@crr es OMme et CHT ULetee hem ise

aa

(Phys Total Care)

ate emta

"D0978-2925-01
00378-8125-10 :
“00378-4250-01

<qgned.0222:11

CAP, PO, 10mg, 305 8

60s fa....
100s ow. . $4068-2317-04
25 mg, 158 aa. . §4308-0062-04
a 30s a... yqae8-0082- 02
1005 aa... 64058-0062-00
50 mg, 40s 6 BaB68-1964-02

100 mg, 30s 2a

100s #4... ve
"$258 ga... oe) BAO68-2204-04
(Guaitiest) .
CAP PO, 10mg, 10s ea .. 0609-3455-21
25. mq, 1005 aa O0803-3456-24
50 mg, 1005 ea ......00609-3457-21
TODOS fa 2... eee G0G03-2457-32
(Quality Care)
GAP, PO. 10 mg, 30s aa. . f0248-0793- 30
25 mg, 10s #a........60346-0653-10
128 QA... - 80346-0653-12
30s 1a . + 80346-1553-30
BOS 08... cee e es OOS4E-0559-90
50 mg. 30s oa........ §0346-0259-30
{Raway}
CAP, PO, 10 mg, 100s ea, .00686-0436-20
25 mg, 10s 4a ...... O0686-0437-20
50 mg, 1005 a ...... 00636-0438-20

100 mg, 1005 ea ..... 00686-0651-20
SOL, PQ, 10 mpfml, 120 mi ngss6-d612-44

{Schain}
CAP. PG. 10 mg, 100s ea .. 00364-2713-01
25 mg, 100s ea ...... G0364-2114-01
1000S #2... cies 00984-2114-02
50 mo, 100s ea -00364-2115-01
1000s 4a .... , 00364-2115-02

75 mg, 100s ea 00964-2116-01
100 mg, 1005 62 ..... 00364-2117-01

{Silarx}
SOL, PO (PEPPERMINT)

10 mg/ml, 120 enl.... 54898-0512-40

“ieoas: 23
SSE goueeoz22 a B50, ea

7 41, 40" z aes
“a6 OO

7155.20

18.75

me cat) ie Pees iy]

(Sky Pharm}

DAP RO {aLIsTER PACK) 32 °
a 169730-0089-0 1.233!

7 *25 mg, 700 aa UO.
: mows

- 5B016-0834-14 -

 58016-0834-15
$8016-0834-20

68016-08948"
Seti eaote-o0s4- 00;
ApagTe-D

, oF
* 825 mgs25e-ea.. Seprsnbreaasray

BUONO} Eop eT .
325 mge100s ea UD... §7079-0497-20.
SRS

PU oie ia

O79-0438-20

378 mg, 400s wa LD. 51 87-0645-28
100 mg,'10¢ ea UD >51078-0651-20

(Waison) ¥en"
CAP PD, 10 mg, 100s ea. : 52 7
10008 ea ....... !
25 mp, 100s ea .
10005 aa “62544-0898-10 416.00
50-mg, 100s # 52544-0607-0T 55.21
1000s 2a S2544-0697-10 895.85
DOXERCALCIFEROL :
{Bone Cara Int'l) Sea HECTOROL
DOXIL {Alzz}
doxorublels hydrochloride posome
SOL, IV (S.D.V. STEALTH LIPOSOME)
2 mg/m, 10 mi....... 17314-9600-0+ 755.69 .
QB MM cesses eee 17314-9600-02 1889.25 :
DOXINE (Merit)
vitamin bE
SOL, Lt, 100 mg/ml, ¢
eoeeeBO7ZT-0907-89 12.75 t£
DOXORUBICIN HCL NOVAPLUS (Bedtord)
doxorubicin hydrochloride
PDS, IV {5.0.V..P.F}
10 mg, 108 #a........ 55988-0243-10 450.70 AP
20 mg, 105 eg......., 559S%0242-10 901.60 ap
. 55300-0243-01 | -225.40 ap
,. 55390-0245-18 473.50 AP
.. $5390-0246-19 947.00
S5990-0247-01 236.74 aP
{M.0.V}
Z mg/ml. 1066 ml .....55390-0248-01 945,98 ap
DOXORUBICIN HYDROCHLORIDE (APP)
SOL, (V {5.0.V,P.63
2 mond, § mi........69323-0883-05 45.50 aP
10 mb. , B3323-0883-10 91.00 ap
25 Mb. eee eee 62323-0883-39 231.00 aP
(M.DVBF)
2 mgémi, 100 mi ..... 63323-0191-61 998.00 a

(Abbott Hosp}
SOL, IV (5.0.¥V. POLYMER)
2 mom, § mi TOs. ...00703-5043-03
25th. eee eee 00703-5046-01
a D.V, POLYMER)
2 mgm, 100 mi... 00703-5040-01

1404.2:
102 79 8223"

Tera
“56.86. 4549 2

5 af A0ZARg

186.25 140.00 AP
83.13 70.00 AP

392.50 280.00 AP

1t459-3 Filed 08/05/03 Page 14 of 19

doe 1.UI-CV- -PB DOCcUNntTe
297 /DOXYC
eee a rare itera fae eae
48s aa UD 61392-0732-45 a6.54 A Pric ing
60s ea UC .,.......61392-0732-60 115, .
veenes 10019-0920-01 44.40 AP 9¢s ea UD 61392-0732-99 173,08 Aa Electronic Drug Tt
Leaeeeeebeee Voo1s-ag21-02 222.90 | AP 500s ea UD 61992-0732-51 961,57 AB os I Information
, 20005 ea-UO....... 61302-0732-54 846.26 AB and Clinica
100005 ea UD... 61392-0732-911923t.30 AG re re) i <¢
veaenees §5390-0231-10 450.70 AP {| (Major) 24
beveeees 55390-6232-10 901.60 AP | CAP, PO, 100 mg, 500s 4a.00904-0428-40 64.25 AB Fae-GOGR
BO Mp, OB. eneee 55390-0233-01 225.40 AP | TAB, PO. 100 mg, 50s ea..00904-0436-51 17.50 Ag gervices ~ (800)
“w2 oo 5 ml 10s $5390-0238-10 473.50 aP 500s ea.. .-00904-0490-40 63.75 aa Catabase 0
> 10 Ml 108... -...0e $5390-0236-19 947.00 AP | (Medisea)
eG Me eee ee eee 55390-0237-01 236.740 4 0 AP | BOW NA (USP) cane ioleg 2sea...60340-0100-02 5.67 EE
er (.0.¥.} BS QM. eee eceeee 3S779-0494-04 927.46 24.30 al 4
Eo mgfal, 100 mi .....S5300-0238-01 945.98 ap 100 gm... 38779-03405 102.72 90.90 feed siseeciaray : 0 fe
jord) See DOXGAUBICIN HEL NOVAPLUS (Mutual) ag fa... ‘1 60388-0100-08 5.15 EE
arts tat-Myar Onc/lmm} See RUBEX CAP, PO, 50 mg, 50s ea...53499-0778-02 37.80 AB 105 ea ...80345-0109-102 4.88 EE
“ Corp} See ADRIAMYCIN PFS Sas 0a 336.00 a 12sea.. .BOSAE-O109-12 10.55 EE
mmaciz Corp} 100 mg, 50s 62 ..... 67.10 Ag 145 aa. #0046-0100-14 12.43 EE
innacta Corg) See ADRIAMYCIN AOF 500s ¢a............ $9409-0119-03 580.00 aa 208 ea "g0346-0109-20 17.75 fe
ORUBICIN HYDROCHLORIDE LIPOSOME = TAB, PO. 1004 ae ee aE ee DAs 25s ea + GO346-B108-25 22.19 gE
a) Sea DOXIL 28s ea . MME H0E28 24.83 EE
. 00 (APP) (Mylan) . 50s sa 60346-0109-50 44.34 EE
Boxy 1 late . CAP, PO, 50 mg, 50s e2...00378-0145-69 37.75 AB | TAB, PO, 100 mg, 4s ea ...80346-04ag-44 4.40 EE
: me ie) 100 mg, 50s aa 00378-0148-89 a ag 10s ¢a 60346-0449-10 6.88 EE
. 500s ea - O037#-0148-05 580. ag 43 ea... 44g.
100 mg, ta ........--GdS2S0130-10 18.89 AP | TAB, PO, 100 ang, SOs ea ..O0378-0167-40 27.70 Aa tee” ieee ioe ge
XVCY CLINE ‘CALCIUM S008 G8... aes 00378-0167-08 255.05 AB 28s ea g046-0440-24 2483 EE
fpttzer U.S.P.G.) Sea VIBRAMYCIN cater (PO-RX Pharm) | (away) ee
FROXYGYCLINE HYCLATE | CAP, PO, 50 mg, 16s ea...S5289-0802-18 4.14 AB) cap, PO, 50 mg, 1003 sa uoosss-o148-20 15.25 AB
= (rea) GOs oa.............58200-0235-60 9.54 AB 100 mg, 100s ea UD’..00986-0822-20 21.00 AB
P PO, 100 mg, 50s aa... 4.26 " mg, 25 aa. seeeaene 55269-0197-02 52 ‘ TAB, PO, 100 mg,
“PQ, 100 mg, 50s aa... 4.46 SOD eeaececere SOLS OEOZ 5. +
See OXY 100 és ea “SS28G-O107-08 8.52 A 100s ea UD... 5S / soues-o5se-20 15.55 AB '
ee a 10.35 Aa | (Schein). - ms -
ise pts) : 10.41. AB | CAPO, 50-mo, 50s oz: Dosea-2092-50° 12.60 AB
PPO, 0, SO me, 20s ea... S4569-0147-02 15.10 10.50, AB 1006 ea UD ......;,00964-2032-90 57.59: AB
deteeees S45G0-0147-01 | 37.74 FE 11.58. ABO 460mg, Sean... GO384-2088-50 23.50 AB
2.10 cE (REOI- SCAIPT) 00964-2033-05 215.18 Aa
sees 16.08 EE 100 mg, 148 sa Aa.
wy 10.50). 0, BE 208 ea. AS .
20,99. :- 4. EE. . .
~ 233 + BE (REDI-SCRIPT) rea . ! i aeate-cietet0: 1. 7 ee EL :
ie. 100 mg; 20s a2 68» LAP. P f sare cette aa, OE . 4
554 SOOUO161-15 «13.29 “Reet .
FIGS i. MAY i
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at UUZZEMT2AS, 1250r7: {Pfizer U.8:P, a) see See ViBRA® say

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or slaee-0ozs-0082"
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{Bedford} °

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eee onic * +25 mgiml5 mi 55990-0485-05~ 72.00" ‘a0 {} “4
fab Mlesesassece aea92010 2620 =" (Gensia Sicor) - Le, oh af -
15 mi... 11914032615 35.20 ONL IMM.) |e pons ea Uo
{Novartis Ophth) see FLOR OP :. et 25 mg/l 5m... OTOR-S003-01 S256. AD | sans ea UD
(Radlord Tharapautics) . Lot te i
OIL, IM (M.D) ri

(Paclilc Pharma) .
SUS, OP, 0.1%, 5 mt

25 moi § S mb. ..2 so 880824

k.

(Pharma Pac)” ESM, He Ut on
SUS, OF 0.1%, Simi .....

“aR j 'SLUPHENAZINE- ENANTHATE:
aprenden yc
e ‘FLUGROWETHOLONE ACETATE
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+ TAB, PO, 1 mp,100s-¢a
i] os S00s'ea...
vg 2.5 mg, 100s ea

4 tapothocon} See paints

(Dixon-Shane) - a
es TAB, PO, 1 mg71008 ¢ * hi
: gue PACKAGE? “SODG Wiss gag eneaegs oi 4, wdnece Al»
50 mg/ml, 60 ml 2.6 mg, 1008 eu, ,....'17236-0400-01°" 79.50 AB 10 mg 1008 a
100 mi... .63323-0117-61 S005 44:71  FT29S-0490-05 - 957:78+2 & ~ AB 500s o4..
. 5 mp, 1008 ea,....... 17298-0401-01 6250 AB | (Pharm .
(Allergen Ine) See rLUOROP LEX co 500s #a.. 747298-0401-95 42550 | AB (er Po Asse .
(Baxter PFi) 40 mg, 100 LTPRRE-DEN21 119.00 "ABT" 25 mvs mi, BO ml.
_ SOL, fv (5.0.1) 500s ea...,......-.17238-0492-05 547.40 AB 473 ml oc, :
50 rag/ml, 10 mt .....10019-0950-02 2.60 a? | Geneve} . 60, PO (DF, SE, WOROPPER)
{Dermik) See CARAC TAG, PO, 1 mg, 50s éa. = 0781-1436-50 26.10 AB 5 mg/ml, 120 ml ..... ~A0121-0655-04
4 F005 as... {.00785-1436-01 40.75 | | AB &
, HCH) See EFUDEX 400s on UD... -00789-1438-13 | 62.99 ag |, {Phys Total Care)
(cn) . : TAB, PO, 1 mg, 30s ea «. BARG-2156-00 °
5006 on. 00781-1496-05 233.79 AB
SOL, IV (VIAL) 2.5 mp. 508 "ap7aaa37-50 4057 3 60s ea... cece §a860-2156-01
50 mg/ml, ‘ 100s ga MOTT 1437-01 75.75 AB 2.5 mg, 305 oa.......54868-1354-01
10 mi 10s...-.-.... 00187-2953-84 15.61 AP 100s e2 UD ........00781-1437-13 90,99 Ag 5 mg, 30s ea 54868-2303-09
{Madisca) ' 500s aa. .-00781-1497-05 330.74 AB [| (Quality Care)
POW, NA (US.P, 5-FU) 5 m9, 50s a QTE 438-50 a. ? MB ‘| TAB, PO, 5 mg, 30s ea ,,..60346-0980-30
33770-002: . Ss 8a. ae = .
oo 580 100s ea UD ........0D781-1438-13 | 134.99 ag | (Sebering) Ses PEAMITIL
-- BOTTS-O025-04 73.73 85.25 500s ea -D0761-1538-05 423.70 - AB | (Teva)
1. S8779-0025-05 241.14 213.40 10 mg, 505 98........ O0787-1439-50 60.24 AB | ELI, PO, 2.5 movS mi,
38779-0025-09 2373.002100.00 VWOs oa UO ...,....DD7B1-1498-13 170.30 AB BOM. eceeceee 3E245-0686-12 15.90
. 1005 4a 00TH-1430-01 144,75 AB 473 mi Q0093-9686-18 142.75
500s ea DO7ES-1439-05 545.25 AB fT SOL, PO, 5 mo/ml, 120 ml. G0093-9630-12 112.80
(Hearttand) (UDL)
TAA, PO. 1 mg, 30s aa UD .64392-0057-30 = 24.71 AB TAB, PO (10X40)
[BLISTER PACK) Sm A
14909-0057. 0, 100s ea UD ....S107S-0405-20 62.40 46.80
VND, 308 Beso hissenpenat 863 As 2.5 mg, 1005 4a UD ..51079-0486-20 89.60 66.45 AB
- Renee 325 4a UD .........61392-0087-32 2635 ° AB {foect READY 25X1) 540 AB
FLUOXETINE HYDROCHLORIDE a§s a2 UD ‘61392-0057-45 37.06 Ag 0m oy Ba BTOTOOTID 8.4 BY
D B1302-0057-60 49,
(Dista) See PROZAC es TT RASRReDRBI-BD oa a 5 nig, 100s ba UD... 5107S 0487-20 132.74 94.78 AB
(Litly} See PROZAC 500s aa WD........ 81992-D057-51 411.75 AB 10 mg, 100s aa UD...51079-0498-20 168,50 116.48 AP
an See SARAFEM 2000s ea UD....... §1392-0057-54 1647.00 AB | (¥angard)
awe 100005 ea UD......64392-0057-91 8235.00 AB | TAS, PO (31X10,INSTIT USE,CARDED)
ei. 0s aa -- 61992-0053-36 34.93 AB § mp, 310s eal ....O0615-1801-83 418.28 AM dg
{32X10,NSTIT, USE)
, 28 me piasz coset 8 AE § mg, 320s ea UE....0061S-1501-63 418.28 a
(Major) 325 0a VO .........81392-005832 37.26 AB eee ees UD bubieasra-ss 52762 AB
TAB, PO, 10 mg, 45s ea UD .........B1892-0058-45 52,39 AB (32000; INSTIT USE :
1005 ea, Cell. ...... w0904-1218-80 133.50 BP B0sea IO .........67392-0058-60 69.86 AB ' )
5055. O mp, 320s ea UD ...00615-3574-83 527,62 a
(Pharmacia Corp) See HALOTESTIN 805 €2 UD... OT Tee coe Au
500s ea UD ........61382-0058-51 582.15 ag | FLURA-DROPS (Kirkman Labs)
(Qualitest} 7000s #4 UO ......, 61392-0055-54 2326.64 AB sodium tluoride
TAB, PO, 10 mg, 100008 4a UD... .81392-0058-011 1643.20 AB | L1G, PO, 0.25 mg/arp,
100s ea, Celli... G0603-3645-21 201.60 oP 5 mp. a0eea UD .....61392-0058-40 45.19 AB 24 Meee cee eee SR273-0604-24 2.09

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ro01s-2618-be a0s0, 00.875:00
» ODDT3-2846-83 £°504.00.-420.00
00018-2648-84..2520.092106.00

GENOTROPiN MINIQUICK (Pharmacia Corp} J :|- OODTA-3400-01 | 170.11 143,25 AP

somatropin, a-coll: aie , eS 1255 EA OOO74-BA01-01 161.39 152.75 AP!
: ; - 0074-3402-01' 195.05 184.25 AP

DOD19-2655-02 570.98 433.68 :

“(VIAL,
00013-2657-02 ‘589. 6B fs #0, He . 40 mom 2.mi 25s,.,.00074-1207-03

‘ 1.8 mo, 7¢ 92 000 “ee, 42: "5428 ‘ap '
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0.8.9, 7s ea. GO01E-2681-02:-1028.86 274.05) 7+ taliseripte}esess «|< oelio BE Stop Begms fee Hf
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* GRE,:TP, 0.1%, 45 aiaehisasas1117-00 3.80": ste he
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SAMIBEDISN-S LBBB :

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:| GENT tacos mee nay ay Sa EHR 2
4/- “(Allergan Inc) See PRED-G— fn ee

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GENT SULF/SOD CL-(Abbott Hosp} -

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i] eva impmiosttsbuatbdies oe eoae7e-0132-20°9°26.10-,,~ °° ee !| SOL‘OP.3 mom, 5 2 2
: Bi _ 50 mb2ds.. Be = 00076-7870-13 aw. 28 ont 32 a: . “GENTAMICIN SULFATE E PEDIATRIC (APP. 2 ize
- 2] - ay ah . : a gantamicin‘sultate"* i
i] 4A. mpimi-0.%, oe 1 rs, ina agg SOLS PEDIATRIC M.D} -'¢
HS... BO mb2as.. <fe-finonoraser-3. 304 10 256, 08 api} eo) 2300 en 74 514i 1] cies Ore 2 al. 5
ek 18 mag/mi-o. 9%, Dene cate: Wet ae uch “ ag ‘i i ytd a rae DPE age
af] ze 080 MI 2MS., ress “00074-7883-4 628. 258.00 ‘P Wy ciay-Part ise
4 R100 mg/100 mI-DAKAEENER 7) CRE, TP, 0.1%
BH °- 100 mi 2A 28 att OOOTATBO-23 « Ao BO.AP «| og. orage oma
~ 80 mo/tO0 mi-t. ‘ if : 3 ‘
{ae .. 100ml 24s , ie 00074 TORK 308.38 256.00 ae | ‘DIN, wyatt “15 9m. eee am |
th 90 mart00 mb Mesa bite ty 454 gm. ,MOATE-00AE-0S 86.00" a.
100 ml 24s. -00074-7886-23 ‘2438 27342 AP wh . i
(8. Braun)’. ‘(Consolidated Midland). 3h
SOL, 1 {100 ML PAB CONTAINER) _ | GRE TP oe. son “an UE
1 Empimhoi% nozsa 5812 3 ! *to'sa ee SOL, HW (¥AL =, EMME er ee
50 mi......... sees PeaS812-38 10.88... AP 10 mo/ml, 2ml.......00223-7715-02 "175 EE
1.6 ma/mi-0.9%, ' 2ml25s...........00223-7744-02 3750 "EE
SO ml. sivssanesee 00264-5816-38 = 11.11 AP 40 mgéml, 2 ml ,.00223-7718-02 2.25 EE q
(150 ML PAB CONTAINER) . 2 mi 258... [o0223-7719-25 | §2.50 EE .T7317-0183-02 8.40
100 ma/100 mI-0.8%, wee 2 ml 255... .-BO222-7724-02 50,00. “EE 17317-0183-03 17.50
++ O0266-6810-52 8.76 ~*~ AP 20 ME... 00223-7717-20 8.25 SOC: 17317-0163-05 58.80
. OF 3 mg/ml, Sml......00223-6651-05 4.75 + EE no .
BO264-5806-32 11.09. ap ism i eceeuevevareee D0Z23-6551-15 5.50 EE {Galipal .
gma *..51892-0207-25 17,
WOM. 00284-5808-32 14.11 ap | (Edwards) see ED: MYCIN vow 925 gm. 2227 SrEsz-os0rae | Se8
(Baxter). Gre ae DOSETTE) {integra} .
SOL, Vv, i2 mo/mi-0.9%, * 1 . 641-0394-25 927.13 15.50 AP POW, NA (ULS.P)
50 mi 24s,.........0033B-0507-41 279,91 we 10 myiml, 2 mi 25s... 0641-0394. BO. PB OMe ese coves O59245227-25 19,97
1.6 mg/mb0.3 a 2 mi 25s...00641-0305-25 89.89 22.79 AP 100 gm. O5324-5227-35 39.45
50 mi 245,,........ 00398-05094 237.89 AP 40 mimi Medisca) .
100 mg/100 mi-0.9%, t 5DB41- NA (US.P:
100m 24s 00338-0805-48 258.87 AP 20-mi106.........- O0641-233-43 759.47 91.13 AP RY, Us P}
60 mg/100 mi-0.9%., { Falcon Cena TANNER)
100 mf 245 0.0.0... 90938-0501-48 222.9 ap | SOL, OP (GAOP-T.
100 mi 245 ........ 00338-0507-48 263.94 AP 3mpmi, Sml........ 61314-0633-05 9.50 ar
0.8 mg/mi-0.9%, (Fougera) : "
50 rol 248........05 00338-0503-41 213,53 AP GRE, TP 0.1%, 15 gm..... 00168-C071-15 3.60 . AT
"(VIAFLEX) OIN, TP. 0.1%, 15 9m.....0D188-0078-15 3.60 ar
0.8 mg/mi-0.9%, (Major) . -
400 m 2 weeerees O0338-0503-48 237.89 ap SOt, OP 3 mg/mi, 5 mi ... 00004-7907-05 §.60 . EE
2 mp/mH-0.9%, Ml sescseece, 0004-1907-35 7.35 ze
50 mi 245........., O03S8-O511-41 258,52 AP .
GENTACIDIN (Hovartis Ophth) poe ly SP)
gentamicin suitaie § . 38778-0632-03 12.20 16.80
SOL, OP, Img/mi, Simi... S8768-0385-85 9.62 aT ... 38779-0832-04 45,82 43.20
GENTAFAIR (Qualilest) 1. BBT79-0632-05 159.67 141.30 GENTLE TOUCH {Prime Markalin
pantamicin suifate , S8779-0832-08 723.20 649.00 Insulin sytingeaineed dies w
SOL, OP, 3 mg/ml, $ mt ...00803-7156-37 5.40 at 38770-0632-09 1327.751175.90 SRN, (28GX1/2",1/200,U100)
GENTAK (Akorn) (Novartis Ophth) See GENTACIDIN Coon 8 ‘nea DOBG-01 22.95
gentamicin suliate (Novartis Ophth) 1005 #2..-- 6... §2197-0070-01 22.95
OIN, oe een 17470-0280-35 1480 AT DIN, OP, 3 mo/gm, 3.500 gmSA768-0251-36 15,16 EE , (200x1) "200,01 00} ‘
We eeeees -0254- . - 10080d 0, 62107-0087-01 23.95
SOL, OF, 8 mg/m, § mi. ‘747B-0285-10 9.54 at | (Qcumed) See GGU-M¥CIN ani ideurea; “" a
1M. eee 47478-0283-12 11.91 AT | (Qcugett) See GENTASOL - Cf Wogan 62107-0068-01 23.95

aia DE =O OOD Boo eOe ie ‘ai mg 1
te Lage OMe Rai OISO.0 Gerke La@oat eh cal cert OTT SIT Tat a AoE i fz[ele) Br gear elcid (wa AY if Oe
pRODUCT LISTINGS

Pi ley

ia) 548 SUSPEN
is, Inc. } See PENICILLINGVK

ans) po (UNIT OF USE)
ma, 408 #4 ...+-- 60429-0147-49
mig, 405 62... -- 60429-0148-40

ava) See PENICILLIN VK

I,
weeneetnneee o0ge4-4001-14
veegeaeeenes .00994-4001-08
2 08 mi, 100 mi . 90904-4004-04
200 ml 90984-4004-06
pm. po, 250 mg. ‘1005 ea. 0904-24800
Bi 500 mg, 1008 #2 ....- 00904-2451-60

eo mg, 40s a... 53978-6042-06
500 mg, 405 62 ...... §3078-5055-06
Fionn Pharm} See PENICILLIN VK

E ipparra Carp/America)

"77 §2089-8213-20

F(Pliys Total Cers}
F POR, PO, 125 mg/S ml;
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oreis sr reanis

, PO, 250 mg, 28s ea. - §1655-0009-29
MOS 68... cece §1855-0009-51
* 500 mg, 405 64 -..-.. S1655-0010-51
rma Pac)
PO.) 128 mg/S ml,
paeteetroen §7959-0500-00 |
20 os ml, 150 mi .$2959-1772-01
200 Mm) ..-cseeera ee §2959-1172-02
TAB, PO, 250 mq, 203 8a . .§2959-0333-20
sen eeeeeaaeae §2959-0333-28

Pn a ee
R71 1 AB
6.53 ag
2.16 aA
3.34 aA
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28s aa...  58018-0146-28
30s ad, . 90018-0146-30
405 ea. . ... $8018-0148-40
100$ ga... oo 56018-0748-00
500 mo, 65 aa.....,.. 58000-0147-08
.  54006-0447-10
0018-01 47-12
. 58018-0147-15
.58018-0147-16
sagte-0147-20
58018-0147-21
5a016-0147-24
§8016-0147-28
5e016-0147-30
50016-0147-40
§8016-0147-50
58016-0147-60
§8016-0147-00
(Teva)
PDR, PO, 125 my/5 mi,
“100 mio... ceeee §0093-4125-73
200 mi... .eeeee ee 60893-41 25-74
250 mg/5 mi, 100 mi. ovogd-4127-73
. 20 mM... 09093-4127-74
TAB, PO, 250 ods 100s ea. oven. t172.01
100s a8.....-..0.0e Og ed

(Truxton} See TRUXCILLIN VK ©

{UoL}

TAB, PO (10X10)
250 mg, 1005 ea UD. .51679-0615-20
500 rig, 1003 ea UC. .6107H-0878-20

| PENICILLIN VK (Geneva)...

(PO-AX Pharm)

TAG, PO, 250 mg, 109 92. senna

56209-0207-28.

“ PENTAM (APF)*.

: |, pentantidine Lesthionate

. POS, Ld {S.0.VUPF)
300 mg, oa

Cpraceate ISETHIONAT .

TAB, PO, 260 mp, 100s 0a, 00791-1208-61
T0008 G8 ..seseee, po7e1-1206-18

500 mg, 100s 02 ....., MOTE1-1686-81
10008 68! eeeiee! "00781-1055-10

PC
3.43 fe
4.67 EE
430 EE
12.24 EE
1.38 fe
2.30 EE
2.76 fE
3.45 EE
3.68 EE
4.60 EE
4.3 cE
5.52 ce
5.44 ze
8.90 gE
9.20 fe
114.50 EE
13.80 EE
23.01 cE
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_ TER, PO (CAPLET, BLISTER PACK)

 PENTOSTATIN: *
 (Supergsa) Sas NIPEWT"

Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 17 of 19__

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PENTASTARCH
(8, Braun) Sea PENTASPAN

PENTAZINE (Cantury)
promethazine hydrochloride
SOL, Ws (VEAL}
50 mgiml, 1 mi. .... 00436-0260-70
SYA, PO, 6.25 mos mi,
120

PENTAZOCINE LACTATE

(Abbott Hosp} See TALWIN LACTATE
| PENTAZOCINE/APAP

SEE APAP/PENTAZOGINE

PENTAZOCINE/ASA
SEE ASA/PENTAZOGINE

. PENTAZOCINE/NALOXONE
SEE NALOXONE/PENTAZOGINE

PENTHRANE {Abtctt Hosp)
matharyflurane:
SOL, IH, 99.9%,

AF ml 205. ves ene. = OOUT4-B854-08 1795,007511.60

' PENTOBARBITAL SODIUM’ ° *
- {Abbott Pharm} See NEMBUTAL SODIUM
. pontoxityiline =: :-

400 mg, S08 ed. o. GA900-0001-H0' 6447 |

: PENTOSAK, POLYSULFATE sopiuM
1 (Alza) See ELMIRON?- sth freee *

F PENTOTHAL (Abbott W649):
;thlopental sodior~ -

 TPOs (SBN REAQY-TO*M

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‘PENTOTHAL Suara i
biopental sodlum-
POS, IV (100 Guar

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PENTOPAK (Zoatice Pharmy "#8"

EPSOM SALT (McKesson) *

magnesium sul
PDA,

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SVANATRIP‘{ala Pari} #2F teen.
tyling hydrochloride: ce 3

‘| ,sarisoprodo
AJAGCE b S3.90. 1003 4409, 0424-01,

‘amitrl

‘| “WANCENASE (Scharln

POW, NA (REAGENT)
3923800 gS... FAY

VANADOM m (aM Paar)

ee rt

TAB, "7, 50 mg, 1005 02, SRERD-OTIT-01 59.08

beclomathasone diprop
ARO, NS, 0. ae
os  Fom.,

(Allseripts)

aS
ARO, NS. oot ‘maf,

(Pharma Pes)

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ARO, HS, 04 0.042 myfinh,
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(Sauthwood}

ARO, NS, 0.042 mofnh,
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Date
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54569-3056-00 © 45.55
40.15

+ -B8N16-6075-01 37.44

VANCEHASE AQ (Pharma Pac)
Coa

beciomethatone alproplonate monohydrate

SPR, NS. 0.042 movinh,
{Phys Tou fara)
aa

SPR, NS, 0.042 mg/inh,
25 gm

(sous wietataeeeee

SPA, "3,00 0.042 mg/inh,

S295%0686-00 99.71

54888-1282-01

SQ016-6204-01 36.54

VANCENASE AQ DOUBLE STRENGTH (Schering)
baclomethazone dipropionate monohydrate

SPA, NS. 0.084 mont,
99M ee

taticrpt)
a

SPA, MS. ‘ OBA mg/inh,

(eneems Pas)

SPR, NS. o ‘O64 mg/inh,

00R85-1048-07 57.72

S4569-4465-00 55,78

2958-0204-01 | 60.26

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0, tH, 0,042 mg/nh 1
|| ae 116.800 gm, Meee t
-VANCERIL. DOUBLE STRENGTH (Xay)
beciomethasone dipropionate
AAO, aS 0.084 mg/inh,

00 om 35....... O0085-1142-03 53.33
12.200 gm --OOOBS-1192-01 9.33
(Allscripts) ee = 2ye-aace nk ed

GARG, 1H20.084 mg/h, ..-
1400 gm. 35 Es ge SAtto-4872 09 | 159.33 75
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(Pharma Pac} Be outs iReigetiatiee

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09002-7298-01

WP;
a OR... eee W0002-7321-01
(ADD-VANTAG
gm, 108 ea.........00002-7298-10
RAYPAK) vs
11 gm, 255 64......... 00002-7327-25
(BULK VIAL) ‘
10 gM, @a......-...ee 00002-7355-01
VANCOCIN HCL PULVULES (Lilly) Tle
vancomycin hydrochioride
CAP, 8. 125 mg, 206 ¢a ..00002-3125-42 111.86
250 mg, 20s ea ...... 60002-3126-42 229,73
VANCOLED {Lederle Sid Prod}
vancomycin hydrochloride
POS, IV, 500 mg, 10s ea...00205-3154-68 54.69 43,75 AP
Tom, tOsea......... GO205-3154-15 109.39 87.51 AP
& gm, #a.........,... 00205-3154-05 §4.69 43.75 aP
(Allscripts) :
PDS, iV, 1 gm, 105 e,.,.. 54569-4669-09 245.39 aP
VANCOMYCIN HYDROCHLORIDE
{APP} See LYPHOCIN
iy ly (eux PAGKAGE, Pe
pata n eee eeee 923-0314-61 272.64 AP
avon ‘Hos 1 ,
BS, IV (ADD-VANTAGE)
500 mg, 10s ¢a...... 00074-6534-07 137.63 115.90 AP
(vial, FLIPTOP)
SOO mg, 10s aa...... 00074-4332-01 382.14 321.80 AP
‘aou /ANTAGI E}
108 44.,-....., O6074-6535-01 274.91 231.50 AP
(ia, Fur OP; yh
‘gm. --00074-6533-01 764.16 643.50 AP
(BULK way
BOM, #4... O0074-8505-01 171.90 144.76 AP
{esl Lederle Generics)
BR, % 250 mg/5 mi, ‘
0 mA GE... eee 59911-5875-G2 183.94 AA
{uedert Std Prod) See VANCOLED
(LUIy) See VANCOGCIN HEL . .

(Lilly) See VANCOCIN HCL PULVULES

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ACC, {SMALL DIAMETER)
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ACC, {pLoan COLLECTION}

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Case 1:01-cv-12257-PBS Document 459-3 Filed 08/05/03 Page 19 of 19

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40s aa, Ctl oo... $2959-0522-40 53.10 (Lily) Sea VELBAN
; it 1 VINCASAR PFS (Pharmacia Cor
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08, Pg g, 78. mg-200 mg $0t, aan a 00013-7456-88 «43.23 34.58 AP
1 mo/ml, tml........ = TAS, r 125 m0. 20s 4a..52950-0540-20 $7.20
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25 mg, 105 ea -.-52959-0549-10 30.90
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5 mg-200 .90709-4402-11 35-77 30.12 EE
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tos ea Col 2, 5a016-0422-00 89.80 Faulding fam) 25 mg, Be ea EAR6S-4416-02 18.29
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(Manarch) Sea VIRA-A gin i mi.......81703-0908-08 31.75 ap soothe ke
VIDEX _{Bristol-Myer OneAmm} 2 ml... SATFOS-O009-98 38,25 aP ‘30s 4a §486e-4210-00° 119.18
P| -didans Lilly} See ONCOVIN (Southwood)
: , TB, i (MANDARIN CRANE AT-0880-0 2088 2478 (Pharmacla Corp) Sea VINCASAA PFS
0087-6851-01 | 53. I VINORELBINE TARTRATE TAB, PO, 25 mg, 10s ea ...58018-0440-10 24.20
Oo0s}-652-0) | 119.38 99.07 (Glaxo Waltcome) Ses WAVELBINE Bos ea caspase 4840

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. M0 GM... OOSTA116 28° 144.86
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j (Allscripts) nos S008 ea SBUT4-OT1T-00- 163.85

a .
_CTB, PO (MANDARIN ORANGE nrg {axean Seandlpharny)
100 mg, 128 ea ...... i 69-4913-01- 23,78 R AB, Po. "00s fa 0574-9110-83----87.20 2 0 :
betene 0674-O118-70° 31245 ng, - $0780-0011-30

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Pi Ecc, PO, ies ag, 208 sa$ogaT-asTEeTT™ 68.57 74.93"
Bit +" 200 mg, 30s a

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: QOONT-BE7TS17: A7K12-108.65.+ «|: (EXT, UBLE) i
ae vee GMSTSUTA TT” 286. Sa eer eae | i savannas ta ttrahe
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stale . 50 mg, 500s aa 006-01 4 839. SUS, Pa 50 mas mal, . Maat 8550 foe .

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